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          FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT

              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY


         Darius Heimer Gittens,                                                        COMPLAINT
         (Enter abov e the full nam e of t he plaintiff in t his action)

                             V.                                                Civil Action No . - - -
         Ryan Pepper, et al,                                                   (To be supplied by the Clerk   of the Court)




         (Enter the full name of the defendant of defendants in this action)




                                             INSTRUCTIONS; READ CAREFULLY

         1.     This compla int must be legibly handwritten or typewritten , signed by
         the plaintiff and subscribed to under per-ialty of perjury as being true and
         co rrect. All questions m ust be answered concisely in the proper space on
         the form. Where more space is needed to answer any question, attach a
         separate sheet.

         2.    In accordance with Rule 8 of the Federal Ru les of Civil Procedure, the
         complaint should co ntain (1) a short and plain statement of the grounds
         upon which the court's jurisdiction depends, (2) a short plain statement of
         the cla im showi ng that you are entitled to relief, and (3) a demand for
         judgment for the relief which you seek.

         3.   You must provide the ful l name of each defendant or defendants and
         where they can be found. ·

         4 .-   You must send the original and one copy of the complaint to the Clerk
         of the District Court. You must also send one additional copy of the
         complaint for each defendant to the Clerk. Do not send the complaint
         direct ly to the defendants.

         5.    Upon receipt of a fee of $400.00 (a filing fee of $350.00, and an
         administrative fee of   $50.00) , your complaint will be filed . You w ill be
         responsible for service of a separate summons and copy of t he complaint on
         each defendant. See Rule 4, Federal Rule of Civil Procedure.



         DNJ-ProSe-006-ProSePrlsCvRghtsCmpFrm-STANDARD-(Rev.05-2013)                                                  Page 1
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       6.    If you cannot prepay the $400.00 fee, y ou may request permission to
       proceed in forma pauperis in accordance with the procedures set forth in
       the applica tion. to proceed in forma pauperis. See 28 U.S.C. §1915. (If
       there is more than one plaintiff, each plaintiff must separately request
       permission to proceed in forma pauperis .)

       7.    If you are given permission to proceed in forma pauperis, the $50.00
       Administrative Fee will not be assessed. The Clerk wi ll prepare and issue a
       copy of the summons for each defendant. The copi es of summonses and the
       copies of the complaint which you have submitted will be forwarded by the
       Clerk to the United States Marshal, who is responsible fo r service. The
       Marshal has USM-285 forms you must complete so that the Marshal can
       locate and serve each defendant. If the forms are sent to you, you must
       compiete them in full and return the forms t o the Maisha!.



                                             QUESTIONS TO BE ANSWERED

       la .      Jurisd iction is asserted pursuant to (CHECK ONE)

                 _m 42 U.S.C. §1983 (applies t o state prisoners)

                           Bivens v. Six Unknown Named Agents of Fed . Bureau of
                           Narcotics, 403 U.S. 388 (1971) and 28 U.S.C. § 1331 (a pplies
                           to federal prisoners)

             I f you want to assert jurisdiction under different or additional
             stat utes, list these below :
       Please see (page 1) of the attached (57 page) certified complaint dated
       May 18, 2021 for additional jurisdiction (paragraph 1).

       lb.       Indicate w hether you are a prisoner or other confined perso n as
                 follows:

                       Pretrial detainee

                 _     Civilly-committed deta inee

                 _     I mmigration detainee

               llI Convicted and sentenced state prisoner

                 _     Convicted and sentenced federa l prisoner

                 _     Other: ( please explain) _ _ _ _ _ _ __ _ _ _ __ _ _ __


        DN)-Pro Se-00 6-ProSePrisCvRgh ts Cmp F rm-STAN DA RD-(Rev.05-2013)           Page 2
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    2.      Previously Dismissed Federal Civil Actions or Appeals

            If you are proceeding in forma pauperis, list each civil action or appeal
            you have brought in a federal court while you were incarcerated or
            detained in any facility, that was dismissed as frivolous or malicious, or
            for failure to state a claim upon which relief may be granted. Please
            note that a prisoner who has .on three or more prior occasions, while
            detained in any facility, brought an action or appeal in a federal court
            that was dismissed as frivolous or malicious, or for failure to state a
            claim upon which relief may be granted , will be denied in forma
            pauperis status unless that prisoner is under imminent danger of
            serious physical injury. See 28 U.S .C. § 1915(g).

    a.      Parti es to previous lawsuit:
             Plaintiff(s): _ _ _ __ _ __ _ _ _ _ _ __ _ _ _ _ _ __


            Defendant(s) :_ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ __


    b.       Court and docket number: _ __ _ _ _ _ _ _ __ _ _ _ _ _ __

    C.       Grounds for dismissal : ( )                    frivo lous   ( ) malicious

                                                  ( )       failure to state a claim upon which rel ief
                                                            may be granted

    d.       Approximate date of filing lawsuit: _______________

    e.       Approximate date of disposition: _ _ _ _ _ _ __ __ _ _ _ _ __

             If there is more than one civil action or appeal, describe th e additional
             civil actions or appeals using this same format on separate sheets.

    3.       Place of Present Confinement? New Jersey State Prison

    4.       Parties

             (In item (a) below, place your name in the first blank and place your
             present address in the second blank. Do the same for additional
             Plai ntiffs, if any.)

             a.       Name of plaintiff: Darius Heimer Gittens

    DNJ-P.roSe·006•ProSePrlsCvRghtsCmp Frm•STAN DARD·(Rev.0 5-2013)                                Page 3
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                    Address: New Jersey State Prison, P.O. Box 861, Trenton, NJ, 08625

                    Inmat e#:          SBI #875223E, ID #1079439

           b.       First defendant:

                    Name : Ry~ Pepper
                                         t  e ~ s relevant to the -complaint he was
                    Official position : a Correction Police Sergeant; and current! a Lt.
                                           At the times relevant to complaint he was at
                    Place of employment: Bayside State Prison.

                     How is this person involved in the case?

                 (i.e ., what are you alleging th at t his person did or did not do t hat
                 violated your constitutional right s?)
           Please see facts section in the attached (57 page) certified cOlllplaint
                         2021, at pages 7) through (52).




            c.       Second defendant: Please find all additional (55) defendants
                 Name: listed on page (1) of the attached (57) page certified
           complaint dated 5/18/2021.
                 Official. position: Please see parties section of the attached ( 57 page)
           certified complaint dated 5/18/2021, at pages (2) through (5).
                  Place of employment: n                            ,,

                     How is this person involved in the case?

                     (1.e.., 'Mlat are you allegj ng that this person did or did not do that
                     vio@ted your constitutional rights? )

           "                                                                             "



            d.       lf t:ti0 r:e are more than two defendants, attach a separate
                     sheet. For each def endant specify: (1) name, (2) official
                     posWon , (3) place of employment , and ( 4) involvement of
                     the: def-endant.         ·



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   5.     I previously have sought informal or forma l relief from the appropriate
          admi nistrative officials regarding the acts compla ined of in the
          Statement of daims on page 6.

          Ill Yes             Ne

          If your answer is "Yes," briefty describe the steps taken, including how
          relief was sought, from whom you soug ht relief , and th e results.

          Please see a t ~ (57 page) certified complaint dated S/18/2021 for
          comprehensive attempts at resolving all matters in the complaint found
          throughout the section on facts pages (7) through (52).


          If you r answer is "N o," briefly explain why administrative remedies
          were not exhausted.




    6.    Statement of Oairns

          (State here as briefly as possible the facts of your case. Describe how
          each defendant violated your rights, giving dates and places. If you do
          not specify how each defendant violated your rights and t he date(s)
          and place of the violations, your com plaint may be dism issed. Include
          al so the names of other persons who are involved, including dates and
          places. Do not give -any iegal arguments or cite any cases or statutes.
          If you int.a:irl. tu cu¼eg:e _a number of re lated claims , number and set
          forth each claim in a separate paragraph. Use as much space as you
          need. Atrarira: separate-sheet if necessary.)
                                                     CLAIMS:

          Please see attadleii (5Tpage) certified complaint dated 5/ 18/2021 at
          pages (52) tiu:uagh (S7} w




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            please see attached (57 page) certified complaint dated 5/18/2021.




    7.       Relief

             (State briefly exactly \Ath at yO!.!...'N.aP.Lthe. Court to do for you . Make no
             legal arguments . Cite n.o cases__or statutes.)
            Please see attached (~ ~ ·--certified complaint dated 5/18/2021
            at page (57).




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    8.     Do you request a jury or non-jury trial? (Check only one)

                             tl) Jury Trial     ( ) Non-Jury Trial



    I declare under penalty of perjury that the foregoing is true and correct.



    Signed th is    J.B.._ day of           t1a ,y                , 2-0AI_
                                               &          b   ~ 4k cylllTrmk
                                               Signature of plaintiff*



    (*EACH PLAINTIFF NAMED IN THE COMPL.AJ.NT MUS.T SIGN THE COMPLAINT
    HERE. ADD ADDITIONAL LINES IF THERE IS MORE THAN ONE PLAINTIFF.
    REMEMBER, EACH PLAINTIFF MUST SI GN T.-iE- COf'oWlA..TJTT).




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    Darius Heimer Gittens , prose                     UNITED STATFS DI STRICT COURT
    SBI #875223E, I D #1079439                           DISTRICT OF NEW JERSEY
    New Jersey State Pri son
    P.O. Box 861                                      CIVIL ACTION (42 U.S.C. 1983)
    Trenton , New Jer sey, 08625
                                                      Docket #
                                                             ----------

    Darius Heimer Gittens ,

                  Plaintiff,
           V.
    Ryan M. Pe pper, Raimon Ng, Jonathan P. Gramp, James M. Stigliano, Timothy
    Maines, Rebecca L. Smith, Anna M. Miglio , Gregory S. Achinko , John B. Gardner
    Donna L. Al exander, Shameca K. Lawson , Robert P. Devol , Mark R. Broadwater ,
    Amanda J . Whilden , Thomas A. Togno , J ohn F. Rollar, James C. Ross , Steven
    Sooy, Willie J . Bonds , Marcus 0 . Hicks , Bruce Davis , David W. Richards, Duane
    M. Grade, Edward Sol tys, Dan DiBenedetti, Anthony Gangi, John Blakslee ,
    Melissa Matthews, Mervin Ganesh, John Falvey . Karin Bur ke, Nicole Sar genti ,
    Jennifer Malinowski , Melinda S. Haley, Deborah Cope, Michelle Ricci , Suzanne
    Lawr ence, Bet tie Norris, Ebony Vaught , Amy Emrich, Cherice Hampton, Jessica
    McDuffie, Erica Stem, Jeffrey Crothers, Wayne Manstream, Patrick Nogan,
    Elizabeth C. DiBenedetto, Reginal d E. Easley, Leonard J. Goffredi , Tiffany
    Fairweather , Kyle I . Br own, Daniel E. Kemble , Anthony Gadecki , Craig M. Sears
    Chadd W. Lackey and Garyn Nathan. Each of t hese named defendants a r e sued
    in t he individual and official capacity extant at t he times a nd places that
    underpin each act and omission alleged herein to be the bases of this
    complaint.

                  Defendants .

                                    COMPLAINT
                                       JURISDICTION
          (1) This is a civil action authori zed by 42 U. S.C . § 1983 to redress
    the deprivati on , under color of state law , of rights secured by the
    Constitution of the United States of America . This court has jurisdiction
    under 28 U.S.C. § 1331 and 1334 (a) (3) . Plaintiff seeks relief pursuant
    t o 28 U.S. C. § 2201 and 2202 . Plain tiff ' s cl aims for inj unc tive relief are
    authori zed by 28 U. S. C. § 2283 and 2284 and Rule 65 of the Federal Rules
    of Civil Pr ocedure and Supplemental Jurisdiction pursuant 28 U. S.C. § 1367.
    Additional j urisdiction is 42 U.S . C. Sec . 1997 (e) and the Americans with
    Disability Act 29 U.S .C. Sec . 794, and 42 U. S. C. 12101- 12213.



                                           VENUE

         (2) The United States District Court for the District of New Jersey
    is an appropriate Venue under 28 U.S. C. § 1391 ( b) (2) because it is where
    the events giving rise to these claims occurred.


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                                            PARTIES
        (3)   Plaintiff Darius Heimer Gittens is currently an inmate confined
   at the New Jersey State Prison in Trenton, New Jersey hereinafter NJSP.

        (4)   Defendant Ryan Pepper was at all times relevant a New Jersey
   Department of Corrections Police Sergeant at Bayside State Prison hereinafter
   BSP.

        (5)   Defendant Raimon Ng was at all times relevant a                       New Jersey
   Department of Corrections Senior Corrections Police Officer                      hereinafter
   S.C.P.O. at BSP.
       (6)    Defendant Jonathan      P.     Gramp    was    at     all   times   relevant   the
   Administrator of BSP.

       (7) Defendant James M. Stigliano was at all times relevant the Associate
   Administrator of BSP.
        (8) Defendant Timothy Mains was at all times relevant the assistant
   Superintendent at BSP.
         (9) Defendant Rebecca L. Smith was at all times relevant the Executive
    Assistant at BSP.
         (10) Defendant Anna M. Mig1io was at all times relevant a Corrections
    Police Sergeant at the BSP .
         (11) Defendant Gregory S. Achinko at all times relevant the Principal
    Investigator of the SID at BSP.
         (12) Defendant John B.       Gardner was       at    all     times   relevant an SID
    investigator at BSP.
         (13) Defendant Donna L.      Alexander was at all times relevant an SID
    Investigator at BSP.
         (14 ) Defendant Shameca K. Lawson was at all times relevant a S.C.P.O.
    at BSP.
          (15 )   Defendant Robert P. Devol was at all times relevant a S. C.P . 0.
    at BSP .
          (16)    Defenda nt Mark R. Broadwater was at all times relevant a S.C.P.0.
    at BSP.
          (17 ) Defendant Amanda J . Whilden was at all times relevant a S. C. P. 0.
    at BSP .

          (18)     Defendant Thomas A. Togno was at all times relevant a S.C.P.O.
    a t BSP.
          (19)     Defendant John F. Rollar was at all times relevant a S.C . P .0.
    at BSP .


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            (20)   Defendant James C. Ross was at all times relevant a S.C. P.O . at
     BSP.

            (21)   Defendant Steven Sooy was at all times relevant a S. C. P. O. at
     BSP.

         (22) Defendant Willie J . Bonds was at all times relevant the Director
     of Operations a t COHQ .

          (22A)   Defendant Marcus 0. Hicks was at all times                relevant     t he
     Commissioner of t he New Jersey Department of Corrections

          (23 ) Defendant Bruce Davis was at all times relevant the Administrator
     of New Jersey Stat e Prison hereinafter NJSP.

          (24) Defendant David W. Richards was at all times r elevant t he Associate
     Administra tor a t NJSP.

          (25) Defendant Duane M. Grade was at all t imes relevant the Chief of
     the SID at NJDOC Central Office hereinafter COHQ.

          (26)   Defendant    Edward   Soltys   was   at   all   relevant   t imes   a   SID
     Investigator at COHQ .

          (27) Defendant Dan DiBenedetti was at all relevant the Corrections
     Ombudsman.

          (28) Defendant Ant hony Gangi was at all relevant times the Assistant
     Superintendent of Northern State Prison her einafter NSP.

          (29) Defendant John Blakslee was at all relevant times the Assistant
     Corrections Ombudsman.

          (30) Defendant Melissa Matthews was at all        relevant times an Assistant
     Corrections Ombudsman.

          (31) Defendant Mervin Ganesh was at all r elevant times was an associate
     Administrator at NJSP.

           (32)  Defendant John Falvey was at all relevant times an attorney
     i nvolved in disciplinary, Legal & Regulatory Affai rs and Records Custodial
     in charge of O. P.R.A. records access at COHQ .

          (33) Defendant Karin Burke was at all relevant times t he Director of
     the Office of Legal & Regulatory Affairs at COHQ.

           (34) Defendant Nicole Sargenti was at all r elevant times an Executive
     Assis t a nt to Commissioner Hicks at COHQ.

          (35)  Defendant Jennifer Malinowski was at all             r elevant   times t he
     Director of the Office of Policy & Planning at COHQ.

          (36) Defendant Melinda S. Haley was at all relevant times a Special
     Legal Advisor at the Office of Legal & Regulatory Affairs at COHQ .



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         (37) Defendant Deborah Cope at all relevant times was the Assistant
     Commissioner of Operations at COHQ .

         (38) Defendant Michelle ·Ricci at all relevant times was the Assistant
     Commissioner of Operations at COHQ .

          (39) Defendant Suzanne Lawrence was at all relevant times the Chief
     of Staff a t COHQ.

         (40)    Defendant Bettie Norris was at            all     relevant      times   Deputy
     Commissioner Division of Operations at COHQ.

          (41)  Defendant Ebony Vaught was at all relevant times a Secretarial
     Assistant III at NJSP.

          (42)  Defendant Amy Emrich was at all relevant times the Assistant
     Superintendent at NJSP.

         (43)    Defendant Cherish L.     Hampton was      at a ll relevant         times   the
     Secretarial Assistant 1 at NJSP .

         (44)    Defendant Jessica McDuffie       was    at      all    relevant    times   t he
     Secretarial Assistant II at NJSP.

         (45) Defendant Erica M. Stem was at all relevant times the Associate
     Administrator at NSP.

          (46) Defendant Jeffrey Crothers was at all relevant times the Assistant
     Superintendent at NSP.

          (47) Defendant Wayne Manstream was at all relevant times a Correction
     Police Major at the New Jersey Department of Corrections Correctional Staff
     Training Academy.

           (48)   Defendant Patrick Nogan was at all times relevant the Administrator
     of NSP .
          (49)   Defendant Elizabeth DiBenedetto was at all r elevant times the
     Disciplinary Hearing Officer assigned by COHQ.

          (SO) Defendant Reginald E. Easley was at all relevant times assigned
     to SID at COHQ as an Investigator.

          (51)   Defendant Leonard J . Goffredi was at all relevant times a SID
     investigator at South Woods State Prison hereinafter S.W.S. P .

          (52) Defendant Tiffany Fairweather was at all relevant times employed
     at the Central Office Correspondence Unit.

          (53) Defendant Kyle I. Brown was at all times relevant a Corrections
     Police Sergeant at BSP.

          (54)   Defendant    Daniel E.   Kemble was     at all        times   relevant a   SID
     Investigator at NJSP .

          (55)   Defendant Anthony Gadecki was at all times relevant an                     SID
     Investigator at NJSP.


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        (56) Defendant Craig M. Sears was at all relevant times a Corrections
   Police Major at NJSP .

        (57) Defendant Chadd W. Lackey was at all times relevant the    Executive
   Director of the New Jersey Commission of Investigation.

        (57A) Defendant Garyn Nathan was at all times relevant the Assistant
   Superintendent and chairman of the Claims Committee at BSP.

                                      PROLOGUE
        (58) For those persons of the jury and those persons otherwise involved
   as defendants, their attorneys and the court, this prologue is intended· to
   provide a basic understanding of plaintiff's living conditions at· Northern
   State Prison, Bayside State Prison and New Jersey State Prison .        Also
   addressed i n this prologue are an explanat1on of various evolving prison
   standards and a brief discussion of plaintiff's mind set regarding his
   understanding of his responsibility to follow prison regulations, and •his
   understanding of prison regulations , that correctional staff must follow.
   The next paragraph will start with the evolution of prisons in these United
   States, and this state, New Jersey.

        (59)    Once a person is committed to the New Jersey Department of
   Corrections -( hereinafter NJDOC )- there are regulations in place by state
   statutes that are expressly developed to limit prisoner access to foods,
   reading materials, television programs, recreational activities, visits,
   phone calls, law library and general reading library; and while the prisoner
   in NJDOC has severe restrictions and controls placed on his and her respective
   daily activities there, are also statutory regulations expressly authorizing
   each prisoner in NJDOC be provided with specific privileges and rights that
   are require d to be followed by correctional staff; if the prisoner follows
   specific rules and regulations . If the prisoner . is required by regulation
   to certain privileges and certain minimum conditions of confinement, but
   for the illegal acts or omissions of correctional staff, and that prisoner
   is denied such privileges and or minimum conditions of confinement, and he
   or she gathers evidence for use to complain in court and or to complain
   to COHQ officials, it is unconstitutional by both federal and State of New
   Jersey    constitutions to retaliate and punish that prisoner for making
   complaints or writing a log book to memorialize such matters for use in s uch
   complaints.    It is very difficult for a prisoner to prove that he or she
   has a true claim for being retaliated by correction staff, because prisoners
   in prison for violating the rights or mistreatment of others have inherent
   credibility liabilities; This case brought by this plaintiff will be proven
   not merely because of his saying this or that correction employee did this
   or that alone, no the proof will be accepted by this jury because they will
   watch approximately (2) hours of digital security film of both audio and
   visual, and documents all under the control of NJDOC officials that will
   fully support the allegations made in this complaint.

         ( 60) When a person is convicted of crimes and sentenced to NJDOC he
    or she finds that contemporary standards of decency are the current foundation
    that our New Jersey and United States lawmakers have come to rely upon when
    fostering regulations that create conditions of confinement that are moral,
    lawful and constitutionally appropriate for prisoners in NJDOC Prisons.

         ( 61)   These standards of decency are the product of over 148 years of


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     criminal justice refinement by legislatures, judicial decree, and correctional
     associations .

          (62) The American Correctional Association (A.C.A.) is made up of
     wardens,    administrators,    superintendents,    sheriffs,    commissioners,
     sociologists, psychiatrists and lawmakers . When designing, building, planning
     and regulating prisons, the publications of the A.C.A. are where guidance
     on almost every issue can be found; plaintiff possesses copies of these
     foundational manuals for use at trial.

          (63)   The aforementioned A.C.A. Standards for Adult Correctional
     Institutions 3rd & 4th editions set forth evolved and constitutionally
     acceptable standards, were developed in 1974.

          (64) In 1976, "performance standards" were added to Standards for Adult
     Correctional Institutions.    Various correctional institutions through out
     these United States and this state, New Jersey, due to the age of them, often
     bring up where they can, policy and procedures, and spatial construct
     considerations, in order to be vetted pursuant to these performance standards.
     In an effort to acquire "accreditation".


          (65)   The A.C.A.'s Manual of Accreditation Policy and Procedure,
     developed in 1979, evolved to require accredited facilities to be monitored.
     In order to maintain accreditation, facilities had to maintain the performance
     standards. Even where full accreditation is not actually possible most prisons
     in NJDOC model most of it's correctional facilities policy and procedures
     by incorporation by reference specific A.C .A. standard numbers corresponding
     to that specific standard . This creates continuity and accountability in
     NJOOC regulations and policies.

           (66)   In 1976, the New Jersey Legislature passed the "New Jersey
     Department of Corrections Act" whereby the Commissioner of the Department
     of Corrections would oversee promulgation of rules and regulations in adult
     prisons N. J. S. A. 30 : lB-1 through 25. These rules and regulations are the
     construe t N. J. A. C. lOA: et seq. These rules and regulations take the form
     of policy and procedures known as "IMP' s 11 Level 1 and Level 3 are created/
     appr oved by the NJDOC COHQ unit called the II APPM Unit". These IMP's create
     rules and regulations that provide for conditions of confinement that are
     legal, constitutional and well settled.

          (67 ) Plaintiff is going to construct this complaint with facts that
     are laid out, for the most part, i n sequential chronological order with a
     great deal of reliance on facts, that wherever possible, will incorporate
     documentary and digital security films taken at the times and places
     identified from (5) fixed positions in various areas of prisons as well
     as digital filmed interviews done on (4) separate occasions by (6) SID
     investigators.

          (68) Plaintiff by the following facts will show that he was transferred
     from Northern State Prison to Bayside State Prison in retaliation for filing
     a complaint of being assaulted and then while in Bayside Sta te Prison the
     retaliation escalated by placement into cells and housing units that were
     infested with giant oriental roaches , and beds designed to torture, cell
     lights not provided, agreements between correction staff to steal authorized
     mail and retaliation for reporting the theft of s uch mail and then false


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     charges fil ed with destruction of evidence res ulting in spoliation and as
     a result of complaints plaintiff made concerning these matters he was
     punished. And he was also punished illegally through retaliation for
     memorializing illegal c onditions of confinement a nd illegal activi t ies by
     numerous c orrec tion employees and then a careful cover-up by supervisory
     corrections employees at the facility l e vel, and by SID investigators and
     deliberate indifference of officials in COHQ t hat were provided over 100
     pages of documentary evidence and provided exact t i mes and dates of security
     films and SID i nterviews on digital security films, but decided to continue
     to act t o cove r-up evidence t hat est a blished that plaintiff had been falsely
     a ccused of violating ins titutional rules and fi nally after placing plaintiff
     into punitive pre- hearing detention personal property was stolen by certain
     of these correction employees in a vicious maleficent intent and e xecution
     in their acts and omissions designed t o harm plaintiff which was s uccessful
     in harming plaintiff .

           (69)  There was even complaints by plaintiff of systematic cable TV
     theft - (piracy)- occurring in all housing units a nd inside security metal
     detector sites which caused the inmate welfare fund - ( derived from 17% of
     all inmate commissary profits, that legis lative laws strictly prohibi t any
     use by any correction employee)- that funde d the cable TV system in each
     cell t o be compromised; thus preventing inmates from benefiting from that
     privilege; that was just one of many illegal acts done at BSP openly wit h
     all attempts to redress was met wi th an illegal un-written policy and practice
     designed to pretend redress while all along supervisory correction staff
     lied and obfuscated in order that inmates would conti nue to be de prived of
     cable TV programming, which continued to a llow correction staff to obtain
     clear uninterrupted cable TV programs offered on Direct TV contracted inmate
     programming . Additionally, plaintiff has an extensive collection of NJIX>C
     O.P. R.A. records, in the thousands of pages, and part of that collection
     is the Direct TV cable progr a m contract date d 2/28/2019 t ha t defendant
     J onathan Gramp signed falsely claiming 567 units (rooms/cells) being served
     cable TV whe n that count was/is substantially higher; this is mentioned
     because this was one of the a reas being investigated by plaintiff that caused
     correctional staff to retaliate illegally .

          (70 ) Lastly, plai ntive wishes to state very clearly that despite being
     convicted of crimes, he has not lost respect for law and the rule of law .
     Further, this plaintiff while going to great effort to develop this complaint,
     that woul d not exist but for many correctional staff acting individually
     and at t i mes in concert to illegally violate plaintiff's rights , fo r purposes
     not au thorized by their pos itions as sworn peace officers -(correction Police
     Officers, Sergeants, Majors a nd Administr ator s and staff at NJDOC COHQ)-
     plaintiff nevertheless believes the vas t majority of correc tion s taff are
     honest l aw abidi ng persons; this complaint a ddresses by contrast only 57
     New Jerse y State actor s ( defendants) out of over 8000 over whelmingly presumed
     honest employees that are c urrently working for NJDOC .

                                            FACTS

           (71 ) On 9/21/2019 while confi ned at NSP , a nd with no disciplinary record
     and with -1 point -(Minus 1 point is a very low and favorable scor e         under
     the obj ective inmate c l assification scor i ng system)- pla intiff a very well
     beha ved prisoner was assaulted from behind by S. C.P .O . Daniel A. Riquelme
     a t approximately 7:48 A. M. a nd that assault was capt ured         on the newly
     installed digital security film system and recorded by Two (2) separ ate
     fixed cameras .

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         (72)   At the time of the assault alleged in paragraph (71) supra,
    plaintiff was on Saturday morning medication line that was outside, as it
    was overflow for the actual inside medication line and plaintiff was in
    discussion with (2) other prisoners who were also waiting for medication.
    The discussion concerned the withholding of much needed Lexis Nexis computer
    terminals that had already been acquired by the Education Supervisor.

         (73)   Plaintiff upon returning to his housing unit made a formal
    complaint on the electronic kiosk concerning the assault. The complaint
    on that kiosk generated a number which was: #NSP19041380.

         (74)   After filing that complaint about the assault Plaintiff typed
    a (2) page letter to defendant Patrick Nogan, the Administrator with reference
    to the complaint made on the electronic kiosk under #NSP19041380.

         (75) Plaintiff then waited for defendant Nogan to process the assault
    complaint in discreet fashion along with the SID. Most allegations of assault
    upon an inmate by correctional staff is referred to the SID.

         (76) On 10/2/2019 plaintiff was ordered transferred from NSP to BSP
    on orders by defendant Nogan who delegated the filing of the transfer
    paperwork to defendant Anthony Gangi who then facilitated the transfer on
    9/27/2019 when he signed the transfer agreement, Form #CRAU- 003. Plaintiff
    will provi de a complete digest of motive of defendant Gangi to retaliate
    against plaintiff even beyond this assault matter; this digest will occur
    later in this complaint.

         (77) Plaintiff arrived at BSP on 10/2/2019 and was placed into a cell
    in the infamous housing unit called Housing Unit "B" a nd assigned to cell
    B-143, that contained an inmate on the top of a bunk bed in a cell designed
    for (1) person.

         (78) B Housing Unit is the place where S . C. P.O . Fred Baker was murdered
    by a homosexual prisoner Steven Beverly on the morning of July 30, 1997.
    There is a placard hung on the wall dedicating that unit in memoriam to Fred
    Baker ' dea th. His tragic death came after Baker had ordered a separation
    of cell mates, the illicit sexual pa rtner of prisoner Beverly as he, Baker,
    was leaving for his days off, and on the morning of his return from days
    off, July 30, 1997, is when he was killed by Beverly; this is a matter of
    public record.

         (79)   Upon plaintiff entering cell B-143, attempted to sit down on
    his assigned bottom bunk -(it should be noted here that plaintiff has a
    medical condition that restricts his housing assignments to bottom bunk &
    ground floor)- he was not able to sit up in that bottom bunk, - (plaintiff's
    height in a sitting position was (35) inches but this bunk bed with mattress
    had only   (28) inches head clearance ; additionally there was no required
    pillow nor a working light that was also required, by well settled law.

         (80) Plaintiff asked his new cell mate to explain the bed height and
    light problems and was told that BSP was being used to punish and crush inmate
    rights that are allowed at the other prisons in NJDOC and that plaintiff
    should realize that anything he earned as a privilege at other prisons like
    art, music or incentive packages would all be r efused for possession once



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     plaintiff received his property, and further, he warned plaintiff that law
     work was viewed as a threat to officers at BSP and that plaintiff would be
     in danger if he was viewed as a jail house lawyer. At the conclusion of
     this conversation, which lasted about ( 5) hours , plaintiff learned how
     officers and inmates spent each day, which was later verified personally
     by plaintiff, which prompted plaintiff to start a diary log book as a means
     to memorialize every day all contacts with correction staff and the things
     they did, and the things they allowed or disallowed plaintiff, everything
     logged for use in court and writing complaints a nd eventually a book on this,
     the most horrible and dangerous prison he had experienced.

           (81) As soon as plaintiff was able he constructed a consecutively pre-
     numbered 50 page diary log book which started 10/3/2019 when he was allowed
     to purchase an 8½ x 14 yellow lined pad of paper purchased in emergency
     commissary purchase; and he started to write each time he was allowed out
     of his cell, the times of food, phone, shower and electronic kiosk, etc.,
     a nd after every entry a line was drawn across each page horizontally , and
     every new entry would have the date written under that line, and in that
     manner a person can see the exact date and page number of each entry. These
     are facts that will become central to this compl aint as you will see f urther
     along, infra. <hen plaintiff arrived in Trailer 2 he added (50 more pages)
     to the diary log book for a total of (100 pages).

          (82) BSP had been plagued by abusive corrections staff even prior to
     Fred Bakers death, but after his death BSP had hundreds of prison inmates
     beaten and illegally punished for years resulting in hundreds of victims
     filing lawsuits this is a matter of well known public record. Which plaintiff
     became aware of by reading news and court accounts of BSP; none of these
     reports could prepare plaintiff fo r what he was going to experience first
     hand, starting on 10/2/2019 , and then on 12/3/2019 at the beginning of a
     specific identifiable series of acts and omissions by certain below named
     defendants to illegally obfuscate , obstruct plaintiff from access to 0.P . R.A.
     records that started with the illegal confiscation of authorized 0.P . R.A.
     records a uthorized under tracking #171444 by defendant Shameca K. Lawson .

          (83 )  Before plaintiff launches into the 12/3/2019 O.P.R.A. records
     #17144 theft and post theft retaliations, plaintiff must first provide a
     great deal of facts so that this court a nd jury has the necessary information
     to enable a c lear understanding of each factor that supports plaintiff's
     allegations made in this complaint .

          (84 ) This court and the jury that will hear and decide this complaint
     will find plaintiff taking a great deal of effort to explain facts in detail
     that may seem unnecessary. But the case law, that is to say , cases decided
     by New J ersey state and federal courts a nd the United States Supreme Court,
     make convicted prisoners rights very limited, to an extent that only very
     specific acts or omissions by a defendant can form the legal basis upon which
     an inmate (prisoner) such as plaintiff is, will be allowed to come to court
     and a jury , very much not the normal standard a free person can go to court
     with and have a jury weigh those facts and factors as would cause a court
     or jury to find against a defendant in a civil rights laws uit. It is the
     reason this plaintiff must be very precise and seemingly overly detailed.
     Plaintiff asks this court and jury to have patience with plaintiff's
     marshaling of facts in this complaint .




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           (85) Plaintiff has established a record of integrity in his civil rights
     litigation going back to 1987. As a pro se litigant, an inmate represents
     his or her own legal interests and they do not have an attorney to hide behind
     when presenting their cases before a court or jury and therefore are held
     to account to a very high standard since their alleged facts are done in
     the first person for all intents and purpose, and plaintiff has hundreds
     of pages of documents that have been submitted to courts in New York a nd
     New Jersey that have always been well received without a single incident
     of a court having found any material written statement to be false or
     disingenuous, this needs to be stated here because plaintiff will provide
     information concerning active lawsuits that he was prosecuting in 2019 when
     he was transferred from NSP on 10/2/2019 to BSP.

          (86) Normal free people can communicate their complaints of mistreatment
     by hiring an attorney, calling the police, contacting various agencies by
     phone or letter, not so an inmate in a New Jersey prison.       In New Jersey
     a prisoner writes letters and asks t heir family to contact NJDOC officials.
     But when he goes to the courts as a result of a 1996 Act of Congress called
     the Prisoner Litigation Reform Act (called PI.RA), a prisoner (plaintiff)
     must file complaints via an established administrative procedure commonly
     known as an inmate grievance procedure. In NJDOC that procedure is controlled
     by a Level 1 IMP #IMM.002.IRS.001 titled "Inmate Remedy System" . In NJDOC
     there is an electronic kiosk that an inmate (plaintiff) may use to file
     complaints. It is a Two part system. Part One is called an inquiry, it
     is a necessary component to filing a grievance. First the prisoner files
     the inquiry complaint waits (16) days then must file a grievance which
     is part Two , and wait (30) days; once these time periods elapse the prisoner
     (plaintiff), if no corrective action has resolved the complaint , can then
     proceed to a court, it is a very involved process where the prisoner almost
     never has the complaint resolved in his or her behalf, even after following
     a court action , and where there is court assistance or relief it is a process
     that takes months to years, and during such process every attempt to appear
     as a viable process is employed , by NJDOC employees, while in reality the
     attorney for NJDOC employees, and the court spends it's time trying to dismiss
     the prisoner's case through some minor procedural misstep by the prisoner.
     Plaintiff is not like other prisoner pro se litigants, in that he rarely
     files court papers incorrectly and only files a court complaint when he can
     support it with truth and law. The reason plaintiff points this out is not
     a position born from ego but because it is a fact; if plaintiff files a
     document in court it will always be proven to be the truth and this can
     be tested going back to 1987; since plaintiff's court filings is a matter
     of public record.

          (87)   Plaintiff after realizing he was in a prison (BSP) that was
     dangerous and was already violating his rights, allowed him by law, filed
     inquiries and grievances to address these complaints as described below in
     paragraph   (88); these complaints will address every complaint plaintiff
     filed while he was a prisoner at BSP -(relevant to this complaint)-, which
     covered (76) days.    Plaintiff shall list them in paragraph (88) briefly,
     and where relevant, will address them in more detail,
     further on in this complaint.




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             (88) Inquiry #BSP19024029 and #BSP19024030 dated 10/3/2019 concering
     why was plaintiff transferred to BSP, Grievance #BSP19024033 dated 10/3/2019
     concerning not being allowed a pillow, no light and bed 30 inches in height
     that prevented plaintiff from sitting up in, Inquiry #BSP19024185 dated
     10/5/2019 t hat concerned plaintiff not being provided his kosher diet, Inquiry
     #BSP19024187 dated 10/5/2019 concerning receiving property shipped from
     NSP, Inquiry #BSP19024418 dated 10/9/2019 concerning not receiving a pillow,
     Grievance #BSP19024419 concerning not receiving kosher diet, Grievance
     #BSP19024538 dated 10/10/2019 concerning (17) boxes of plaintiff's property
     that was received at BSP, Inquiry #BSP19024539 dated 10/10/2019 concerning
     plaintiff Is (13) boxes and (4) large storage containers transferred from
     NSP to BSP, Grievance #BSP19024605 dated 10/11/2019 concerning light not
     being fixed in cell B-143 , Inquiry #BSP19024718 dated 10/12/2019 concerning
     no light and not being a llowed to sit up in bed, Inquiry #BSP19024768 dated
     10/13/2019 concerning not being able to sit up on bed and increasing pain
     and again pointing out that plaintiff is disabled, Inquiries #BSP19024901
     and #BSP19024903 dated 10/14/2019 concerning receiving pillow and plaintiff
     thanking defendant Pepper for delivering it to his cell, Inquiry #BSP19025098
     dated 10/16/2019 concerning plaintiff thanking defendant Gramp f or
     t ransferring him from horror housing unit B, Inquiry #BSP19025432 dated
     10/20/2019 concerning being denied privilege of continued possession of legal
     and art supplies transferred from NSP, Grievance #BSP19025775 dated 10/23/2019
     concerning being denied inquiry #BSP19025432, inquiry #BSP19025816 concerning
     art /hobby s upplies and s pices that were earned as privilege for good behavior
     being refused for possession at BSP, Inquiry #BSP19025819 dated 10/23/2019
     concerning providing information of officers illegal tv sets that have cabl e
     tv reception while plaintiff and other inmates have no reception, Inquiry
     #BSP19025820 dated 10/23/2019 concerning having peanut butter packets added
     to plaintiff 's kosher diet this has significance with respect to fabricated
     retaliatory disciplinary charges of 12/17/2019 fully developed further on
     in t his complaint, Grievance #BSP19026000 dated 10/25/2019 concerning
     continued theft of officers of the inmate cable system that the law prohibits
     officers from us ing , stealing and piracy that was s till occurring. Inquiry
      #BSP19026025 dated 10/26/2019 concerning the First intentional obstruction
      of · 0.P.R.A. record access reques t #17144 which will have gr eater importance
      l a ter on in this complaint that will establish it as the prime mover in the
      fabricated disciplinary char ges against plaintiff that were filed 12/17/2019,
      t nquiry #BSP19027026 dated 11/6/2019 concerning BSP law library obstructed
      access to the (2) computers that were for Lexis Nexis access , Inquiry
      #BSP19027063 dated 11/6/2019 concerning illegal denial of all air exchange
      q.ue to completely blocked air exchange filters, Inquiry #BSP19027399 dated
      i l/11 /2019 concerning continued obstruction of O.P.R.A. records request
      procedure, Inquiry #BSP19030007 dated 12/10/2019 concerning cell F-128 giant
      1 inch roach infestation indicating that (18) of t hem had been caught and
      that plaintiff had sent his attorney (7) of them for identification of the
      species, Inquiry #BSP19030191 dated 12/12/2019 concerning retaliat ion of
      placement in cell F-128 and (6) extra points added to classification scor e
      and pain from bottom bunk bed head clearance of (30 ) inches, I nquiry
      #BSP19Q30411 dated 12/14/2019 concerning defendant Lawson illegal theft of
      O.P.R.A. authorized records #17144, Inquiry #BSPl<x:>30495 dated 12/15/2019
      concerning having caught (40) giant roaches from infested cell of pla intiff,
      Inquiry #BSP19030496 dated 12/15/2019 concerning pain caused by illegal height
      of bott om bunk bed exacerbating plaintiff Is pre-existing medical shoulder'
      neck and back conditions and pla~ntiff again asking for a reasonable
      accommodation----------------------------               -----------------------


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            (88) Inquiry #BSP19024029 and #BSP19024030 dated 10/3/2019 concering
     why was plaintiff transferred to BSP, Grievance #BSP19024033 dated 10/3/2019
     concerning not being allowed a pillow, no light and bed 30 inches in height
     that prevented plaintiff from sitting up in, Inquiry #BSP19024185 dated
     10/5/2019 that concerned plaintiff not being provided his kosher diet, Inquiry
     #BSP19024187 dated 10/5/2019 concerning receiving property shipped         from
     NSP, Inquiry #BSP19024418 dated 10/9/2019 concerning not receiving a pillow,
     Grievance #BSP19024419 concerning not receiving kosher diet, Grievance
     #BSP19024538 dated 10/10/2019 concerning (17) boxes of plaintiff's property
     that was received at BSP, Inquiry #BSP19024539 dated 10/10/2019 concerning
     plaintiff's (13) boxes and (4) large storage containers transferred from
     NSP to BSP, Grievance #BSP19024605 dated 10/11/2019 concerning light not
     being fixed in cell B-143, Inquiry #BSP19024718 dated 10/12/2019 concerning
     no light and not being allowed to sit up in bed, Inquiry #BSP19024768 dated
     10/13/2019 concerning not being able to sit up on bed and increasing pain
     and again pointing out that plaintiff is disabled, Inquiries #BSP19024901
     and #BSP19024903 dated 10/14/2019 concerning receiving pillow and plaintiff
     thanking defendant Pepper for deliv ering it to his cell, Inquiry #BSP19025098
     dated 10/ 16/2019 concerning plaintiff thanking defendant Gramp for
     transferri ng him from horror housing unit B, Inquiry #BSP19025432 dated
     10/20/2019 concerning being denied privilege of continued possession of legal
     and art supplies transferred from NSP, Grievance #BSP19025775 dated 10/23/2019
     concerning being denied inquiry #BSP19025432, inquiry #BSP19025816 concerning
     a rt/ hobby supplies and spices that were earned as privilege for good behavior
     being refused for possession at BSP, Inquiry #BSP19025819 dated 10/23/2019
     concerning providing information of officers illegal tv sets that have cable
     tv reception while plaintiff and other inmates have no reception, Inquiry
     #BSP19025820 dated 10/23/2019 concerning having peanut butter packets added
     to plaintiff's kosher diet this has significance with respect to fabricated
     retaliatory disciplinary charges of 12/17/2019 fully developed further on
     in this complaint, Grievance #BSP19026000 dated 10/25/2019 concerning
     continued theft of officers of the inmate cable system that the law prohibits
     officers from using, stealing and piracy that was still occurring. Inquiry
     #BSP19026025 dated 10/26/2019 concerning the First intentional obstruction
     of O. P.R . A. record access request #17144 which will have greater importance
     later on in this complaint that will establish it as the prime mover in the
     fabricated disciplinary charges against plaintiff that were filed 12/17/2019,
     Inquiry IBSP19027026 dated 11/6/2019 concerning BSP law library obstructed
     access to the (2) computers that were for Lexis Nexis access, Inquiry
     #BSP19027063 dated 11/6/2019 concerning illegal denial of all air exchange
      due to completely blocked air exchange filters, Inquiry #BSP19027399 dated
     11/ 11/2019
      concerning continued obstruction of O.P.R.A. records request procedure,
      Inquiry IBSP19030007 dated 12/10/2019 concerning cell F-128 giant 1 inch
      roach infestation indicating that (18) of them had been caught and that
      plaintiff had sent his attorney (7) of them for identification of the species,
      Inquiry #BSP19030191 dated 12/12/2019 concerning retaliation of placement
      in cell F-128 and (6) extra points added to classification score and pain
      from bottom bunk bed head clearance of (30) inches, Inquiry #BSP19030411
      dated 12/14/2019 concerning defendant Lawson illegal theft of O.P. R.A.
      authorized records #17144, Inquiry #BSP19030495 dated 12/15/2019 concerning
      having caught (40) giant roaches from infested cell of plaintiff, Inquiry
      #BSP19030496 dated 12/15/2019 concerning pain caused by illegal height of
      bottom bunk bed exacerbating plaintiff's pre-existing medical shoulder, neck
      and back conditions and plaintiff again asking for a reasonable accommodation



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    for such me dical conditions as well as plaintiff's equation of forcing him
    to remain in that bottom bunk bed as torture, by forcing plaintiff to l ean
    at an extreme angle; and the last complaint of consequence that plaintiff
    filed while at BSP is the single mos t instructive complaint that will be
    explained in detail later in this complaint, for now plaintiff will briefly
    describe it: Inquiry #BSP19030622       dated 12/16/2019 6:33 P.M . concerning
    defendant Ng refusing to allow plaintiff to mail a letter to SID that was
    a (4) page typed l e tter to defendant Grade dated 12/12/2019 -(this         was
    the first day since 10/2/2019 that plaintiff was permitted access to his
    wor d processor)- addressing the 12/3/2019 theft, illegal         conditions of
    confinement , and r etaliation concerning O.P. R.A. records #17144 illegal theft
    by defenda nt Lawson and defendant Miglio, this inquiry was sent t o SID.

          (89)   Plaintiff after attempting problem r esolution and attempting t o
    stop continued damage, files required administrative inquiries and grievance
    with a nd without addendums, but when the problems must be r esolved by a court
    a nd or a jury, then plaintiff fil es complaint documents with a court.
    Plaintiff has been confined in New Jersey County jail a nd prison since
    December 16 ,2015 a nd has (7) separate c i vil actions in New Jersey St ate
    and Federal courts.    As a result of his being own counsel (pro se) he has
    by necessi ty, been in possession of a vast amount of case papers and l aw
    books and case law, word processor and ribbons and typing paper, envelopes ,
    stamps etc . , not to mention the criminal trial transcripts and discove ry
    docume nts civil and c riminal.    Plaintiff mentions this here because when
    he was f orced to move to BSP he had t he Second l argest amount of legal work
    ever received at BSP - (as related to plaintiff on 10/10/2019 by the BSP
    property room officer, Mr. Leith)- (13) boxes and (4) large plastic storage
    bins) ; these f acts will shortly be developed further in this complaint where
    this court and jury will want t o have that foundational factual informa tion
    in understanding very secular facts that form the basis of this complex
    compl aint .

           (90)   Plaintiff ' s stay at the horrible B hous ing unit lasted from
     10/2/2019 through 10/ 15/2019 where each day, person, place , date and time
     was docume nted in the diar y log book defendants Ng and Pepper s tole and then
     des troyed on 12/ 17/2019 .

           (91 ) Plaintiff was moved to the housing unit calle d Trailer 2 complex,
     on 10/15/ 2019, a nd was assigned to a bottom bunk located Trailer 2 East bed
     A-8-Down . Plaintiff' s assignment to this housing uni t was made by the
     Classifi cation Committee that under statutory law would house him there fo r
     placement at the farm under full minimum s tatus after ½ of 8 year minimum
     which would occur on 11/28/2019, plaintiff was schedule d to be assigned,
     upon return to Classification Committee 12/ 4/2019, to the farm, because he
     had -1 point; a nd assignment to the farm was available to prisoner's with
     4 points or less , especially plaintiff who ha d no violence in his history
     a nd was in prison for theft a nd Third degree burgl ary.

           (92) Plai ntiff continued to write down in his diary log book his daily
     thoughts and conditions of confinement; most notable, of these conditions
     was intentional refusal to provide any outside air beca use the filters were
     completely c l ogged, a dditionally the fire e xis ts were illegally locked to
     prevent a ny exit during a fir e , and the floors in each trail er bathroom we r e
     r otten and the officers were stealing the cable tv (Direct TV) signal for




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    their secret hidden tv -(hidden inside a custom wheeled cabinet with Two
    doors and a lock that are used to hide the flat screen tv during supervisory
    inspections)-   while blocking the prisoner access to cable tv signals.
    Plaintiff addressed these concerns, as indicated in paragraph (88) supra.

           (93)  on 12/3/2019 defendants Lawson and Miglio illegally stole
    plaintiff's authorized mail, O.P.R . A. records #17144, this caused plaintiff
    to hand write a (3) page complaint addressed to SID Investigator John Gardner
    - (who plaintiff had been interviewed by         around 10/4/2019, when the
    Correction Ombudsman found out plaintiff had been assaulted in NSP on
    9/21 / 2019 without any SID investigation being done, their office sent an
    E-mail to the SID at BSP to have plaintiff interviewed on film, by Mr.
    Gardner, and that is why that 12/3/2019 complaint was made to him. Plaintiff
    mailed that (3) page complaint early on the morning of 12/4/ 2019, at 6:27
    A. M., when he placed it into the Trailer 2 locked wooden mail box that was
    placed (8 feet in distance) from and under direct observation of defendant
    Devol who was watching plaintiff deposit same into that mail box.

         (94) Later on in the morning at approximately 7:18 A.M. defendant Devol
    accosted plaintiff and railed on him reciting the contents of the stolen
    mail O.P.R.A. #17144 demanding to know why plaintiff was asking for documents
    with offic er names and plaintiff told him those documents stolen the previous
    evening were authorized for plaintiff to possess and that it was illegal
    to have obstructed plaintiff from possession of them and unauthorized reading
    thereof and that it was a clear violation of plaintiff's rights secured under
    the United States and New Jersey Constitution, and he became very angry,
    his face became very red and he ordered plaintiff to stop talking to him.

         (95) About 7 : 48 A.M. defendant Devol told plaintiff that he was being
    transferred back to the main BSP compound because plai ntiff had reported
    on officers at the Trailer 2 Complex.

         (96)   At that time plaintiff was scheduled to go to Classification
    Committee, so plaintiff was required to pack all his legal work and personal
    property and move to F housing unit cell #128, that was about 1600 feet
    distance and then drop off his property inside the cell and hurry to the
    Classification Committee another approximately 900 feet away.

         (97) When plaintiff was seen by the Classification Committee at about
    10:40 A.M. he was told by defendant Timathy Mains he was no longer going
    to be allowed to go to the farm unit because he had received a misbehavior
    report that added to his points that were now 6 points, 2 points above the
    4 point maximum permitted for placement at the farm unit.

           (98)   plaintiff was assigned ce ll 128 in the housing unit "F", where
     he immediately learned that his cell was infested with giant roaches, over
     (1 inch in length), and that the bunk bed was being illegally employed to
     torture with intentional design and manufacture that prohibits the ability
     of prisoners taller than Five feet Three inches tall to sit up in bed, and
     additionally there was illegally pirated Direct TV cable signals that resulted
     in the s ignal being directed only to the illegal Officer flat screen tv
     and the Officer prisoner workers cells; with all other cells disconnected
     from the Direct Tv cable feed signal. Plaintiff wrote down in his diary
     log ' book in detail far greater than what has been outlined here in this
     complaint, again, plaintiff included persons names spoken to, times, dates,
     places , e tc.


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          (99) As indicated in paragraph (88) supra, plaintiff has continually
     sought to resolve problems and complaints that were grounded in the United
     States Constitution, New Jersey Constitution and New Jersey Statutes and
     codified regulitory laws, policies and procedures that protects plaintiff
     and his class from violations thereof, and despite the exhausting efforts
     to protect these rights, this complaint in it's totality will allege facts,
     and plaintiff will prove at trial, these defendants, as to each of them,
     specifically attaching each act comprising these alleged violations; and
     will be shown to have joined together, some of them, to use every form of
     obstruction and obfuscation, to prevent plaintiff meaningful redress of
     same, in a continual practice and pattern of overt, and secret Policie(s)
     that were and are used to prevent plaintiff and his class from meaningful
     redress of such violations; and in that process the illegal treatment and
     conditions of confinement forced upon plaintiff are for all intents and
     purposes, covered up. These defendants refuse to abide the rule of law.

           (100) Plaintiff needs to remind the reader, comprising the Court and
     jury, that this complaint is not a few simple series of transactions but
     rather, a very careful exposition of the acts and omissions created and
     maintained by attorneys that defendants have used to construct and or rely
     upon to operate in a manner that average persons of average intelligence
     would    be   manipulated  into   believing no violations of        plaintiff's
     constituti onally impacted rights exist, and therefore, this plaintiff must
     carefully expose with facts those carefully deliberate machinations, so as
     to provide this court and jury the necessary facts that will provide light
     and justic e to violations of plaintiff's constitutional rights that defendants
     violate with impunity as alleged by the facts of this complaint.

          (101) Plaintiff complained by phone and writing to his New York friend
     Mr. Huebner, for assistance in forwarding complaints concerning bunk bed
     height torture and giant roach infestation and plaintiff also forwarded giant
     roaches by mail for storage as evidence which were received at his office
     located at 488 Empire Boulevard, Suite 100, Brooklyn, New York, 11225.

          (102)   Plaintiff continued to wait for a response to his (3 page)
     12/3/2019 complaint, mailed 12/4/2019, to SID Investigator John Gardner,
     concerning the theft by defendants Miglio and Lawson of O.P.R.A. 17144,
     however, unknown to plaintiff, - (until 12/18/2019, discussed i n detail below)
     - that 12/3/2019 complaint was intercepted by defendants Rollar and Devol
     on 12/4/2019 and read, which then formed the initial conspiracy, between
     defendants Lawson, Miglio, Devol, Rollar, Maines, Pepper , and Ng to retaliate
     against plaintiff for filing a complaint to SID for illegal theft of O.P.R.A.
     documents #17144.

           (103)  On or about 12/10/2019 defendant Alexander was ordered to
     interview plaintiff concerning complaints made to Corrections Ombudsman on
     12/6/2019 as well as phone calls and E-mail communications between defendants
     Grade, and Soltys and plaintiff's ex-wife Elsie Sanchez concerning plaintiff's
     cell conditions with bed and giant roach infestation and O.P.R.A. records
     t;heft.




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          (104)   On 12/10/2019 defendant Alexander interviewed plaintiff in a
     room located in the medical clinic and also at and in plaintiff's cell F-
     128, concerning the theft of O.P.R.A. records #17144 and the giant roach
     infestation and bottom bunk 28 inch head clearance torture bed, that interview
     at medical clinic and at cell was all recorded on an SID hand held digital
     recording that recorded audio and visual. Additionally, the F-Housing Unit
     Security film also recorded defendant Alexander when she was filming plaintiff
     and his cell, F-128.

          (105) Plaintiff explained to defendant Alexander and showed her which
     she filmed, giant roaches that were alive in a clean plastic peanut butter
     container, the bottom bunk bed head clearance height of (28 inches) and she
     had plaintiff open his 100 page diary log book so she could film it with
     her digita l video camera because plaintiff had told her in the clinic that
     he had that diary log book and had been keeping a continual log every day
     concerning the conditions of his confinement and also that he had stored
     the receipt issued to him on 12/3/2019 by defendant Lawson, for the illegal
     confiscation of O.P.R.A. #17144 taped inside the diary log book.

          (106)   Plaintiff provided to defendant Alexander the names of each
     aforementioned defendant who were involved in the theft of O.P.R.A. records
     #17144 and the retaliation for requesting O.P.R.A. records; it is important
     that it be stated here again, that plaintiff at this date 12/10/2019 had
     no knowledge the extent of the retaliation activities regarding the theft
     of the SID complaint letter dated 12/3/2019 stolen from the outgoing mail
     on morning of 12/4/2019 by defendants Rollar and Devol, that were being
     carried out starting on 12/4/2019.

          (107) Since 10/2/2019 plaintiff had been deprived all access to the
     word processor he uses to construct legal documents - ( this word processor
     that he is using to type this complaint). Plaintiff was finally allowed
     access to said word processor on or about 12/12/2019, whereupon he constructed
     a (4 page) letter to the Chief of SID defendant Grade, concerning the
     12/3/2019 theft of O.P.R.A. records #17144 and the retaliatory transfer to
     F Housing Unit cell 128 and the retaliatory falsified Classification
     Committee's additional assigned scoring points totaling (6). Additionally,
     plaintiff sought .an investigation be conducted concerning defendants Lawson,
     Miglio, Rollar and Devol. Plaintiff attached to this letter a "Bus;i.ness
     Remit Form #CUS-126 and a Green United States Postal Service Return Receipt
     Form #3811 and a United States Postal Service Certified Mail Receipt #7018
     3090 0001 3905 8288 that were attached to that letter for certified return
     teceipt service upon defendant Grade.

      .    (108) Plaintiff attempted to mail the 12/12/2019 letter described in
     paragraph (107 supra) on 12/13/2019 but every time he had out of cell time
     he brought the envelope to corrections officers in F Housing Unit to sign
     the Business remit form which plaintiff is required to have signed before
     dropping into the locked wooden mail box mounted on the pantry wall in F
     Housing Unit, but all corrections officers refused to sign it even though
     they . were required to sign it. Plaintiff at that time had not yet found
     out why they refused to sign it.

          (109) On 12/16/2019 defendant Ng refused to sign the Business Remit
     Form after holding it in his hands attempting to read the addressee name
     until he was able to see it then he refused to and told plaintiff that it
     would be signed later in the evening, offering no reason for further delay .


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          (llO) Plaintiff filed on the electronic kiosk an inquiry #B.SP19030622
     dated 12/16/2019 at 6 :33 P . M. whic h plaintiff mentioned in paragraph (88)
     supra.   This inquiry was filed because plaintiff knew that something was
     going on behind his back concerning mailing that letter to SID defendant
     Grade which was very concerning to plaintiff.

          (lll)    On that evening 12/16/2019 plaintiff wrote a (3 page) letter
     to Defendant Dan DiBeneditti concerning the (4 page) 12/12/2019 defendant
     Grade let ter with a copy of that letter attached thereto and plaintiff put
     that letter into the wooden mail box located on pantry wall in F Housing
     Unit, i t was mailed at approximately 6:30 A.M . on 12/17/2019.

           (ll2 ) On 12/ 17/2019 at approximately 6:38 P .M. defendant Ng ordered
     plaintiff out of cell F-128 for a cell search. At that time plaintiff could
     not unders tand why since his cell ha d been searched only (7) days ago and
     cells are not searched without cause more than approximately once per month
     but plaintiff complied and this search was the first overt act by defendants
     Ng and Pepper in a conspiracy to fabricate charges against plaintiff, steal
     plaintiff's intellectual computer storage floppy disks that were filled with
     legal work, outlines for ongoing civil rights litigation concerning Gittens
     V. Scholtz ,l: 18-cv- 02519-RBK-KMW a nd Gittens V. Bonds, 1;19-cv-13450-RBK-JS,
     other stored data , and destruction of plaintiff's diary l og book with stored
     evidence hand written of criminal activities of defendants a nd plaintiff's
     pri vate thoughts and memorialization of illegal conditions of confinement
     which defendant Pepper and Ng destroyed to hide the truth and this caused
     spoliation of evidence in this complaint and in the disciplinary heari ng
     and Superior Court Appellate Division challenge to fabricated disciplinary
     charges of 12/ 17/2019 .

          (ll3) It is important to remind the Court and Jury of the fact that
     Bayside State Prison Main Compound Housing Units A, B, C, D, E, and F a re
     under continual high security digital Video recording 24 hours each day 365
     days a year; plaintiff points this out because he wants it very clear, there
     is a reason he provides ( where possible) the time and date of each alleged
     fact so that these digital security recordings can be obtained for
     presentation to the jury at trial, as the bes t evidence of, acts and omissions
     of these defendants at Bayside State Prison that plaintiff alleges violates
     his constitutional rights a nd the statutory laws alleged in this complaint.

           (114) On 12/17/2019 at approximately 6:25 P.M. defendant Ng went into
     plaintiff's cell (F-128) and after about 50 minutes he came out of that cell
     - (as recorded on digital security tape that has been preserved for this
     jury and c ourt) - with him in possession of (100 page) yellow 8 ½ X 14 lined
     a nd consecutively numbered diary log book and an O. P.R.A. records doc ument
     authorized for plain tiff 's possession #16358 - (this O.P . R. A. r ecords
     a~thorization # 16358 authorized on February 13, 2019 for plaintiff to possess
     by def~ndant Falvey, consisted of ( 4) lists comprising the names, titles
     and salaries of all NJDOC employees at New Jersey State Prison, East Jersey ·
     State Prison, Bayside State Prison and Central Reception Assignment Facility
      that was bound by brief staples and tape so that it reads like a book) -
      then defendant ei:itered the cell next door, spent approximately (2 ) minutes
     a nd another cell for a pproximately (2) minutes then came back to the officer
     des k area and directly under the lens of the digita l security recording s ystem
      that records the officers desk area, started reading plaintiff's (100 page)
     diary log book with the O.P.R.A. records #16358 aforementione d.


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          ( 115)  Plaintiff watched as defendant Ng clearly had just pretended
     to search the 2 other cells.     Plaintiff knew it was pretended searching
     because all officers search each cell, in a random cell search, ( 3 cells
     at a time) to fill their required daily quota;       but they always search
     each cell for an average of 10 minutes , not how it occurred at that time,
     clearly there was only One cell targeted for a "targeted cell search" and
     that was plaintiff, as the security film recording establishes. Defendant
     Ng was merely acting on film so he could later pretend he was doing a routine
     search. The log books of cell searches of plaintiff's call will show the
     truth.

          (116) After defendant Ng returned to his desk area he contacted some
     person and then shortly arrived Defendants Pepper and Togno who also went
     into plaintiff's cell with defendant Broadwater .

          ( 117) When defendant Pepper arrived on F Housing Unit plaintiff was
     forced to sit in the middle of the officer area while defendant Pepper took
     possession of plaintiff's ( 100 page) diary log book and he is clearly observed
     flipping over page after page reading plaintiff's private thoughts and the
     evidence he had collected from 10/3/2019 through 12/1 7/2019 showing defendant
     Pepper how many illegal activities were carefully recorded by plaintiff.
     Defendant Pepper took about (15) minutes where he stayed standing i n front
     of a table or some other elevated surface upon which he was filmed reading
     said diary log book. One very important fact to note here is that the diary
     log book was clearly intact at the point he was filmed possessing it, this
     is an important fact plaintiff will s how this court and j ury further on in
     this complaint, that this film is possibly the last recorded evidence of
     the existence of that diary log book.

          ( 118) At about 8:00 P.M. defendant Pepper made a phone call and told
     the person receiving it that plaintiff had been in possession of unauthorized
     Level 1 & Level 3 IMP' s and he then ordered plaintiff be hand cuffed an·d
     removed from F Housing Unit, while this was being done plaintiff overheard
     defendant Broadwater state how he had been ordered to search plaintiff's
     bed area in Trailer 2 and report O. P.R.A. materials possessed by plaintiff.
     It should be noted that back on 11/24/2019 defendant Broadwater had searched
     plaintiff's bed area in Trailer 2 Housing Unit A-8-Down, and plaintiff wrote
     in his diary log book about that search which was the 0. P.R. A. re.c ords
     possessed by plaintiff at that time .    Note that all O. P . R.A. records that
     have and are possessed are all authorized by defendant Falvey .

          (119) Defendant Broadwater was also the officer that signed the business
     remit on the evening of 12/16/2019 that defendant Ng refused to sign that
     night. This is important because plaintiff found out that the business remit
     and the. 12/12/2019 letter sent certified return receipt requested described
     in par~graph (107) supra, never was received by defendant Grade.

           (120)   Defendant Ng and defe ndant Broadwater had both observed
     plaintiff 's certified letter and upon information and belief the security
     film · from 12/16/2019 on or about 8:00 - 10:00 P.M. show both of them
     planning to, and then removing plaintiff's certified letter from the wooden
     mail box using a key they accessed to facilitate the theft of that mail.

          (121)  Defendants Pepper, Ng, Togno, and Broadwater acted as a team
     to fabricate evidence against plaintiff for retaliatory reasons and not for



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    any actual factual bases that would      support any charges against plaintiff
    on 12/17/2019, and at the time they       were searching plaintiff's cell their
    intent was not obj ec ti vely grounded   in any perception of plain tiff being
    a threat to security, as will be shown   later in this complaint by solid facts .

         (122) When plaintiff was being immediately transferred to Pre Hearing
    Confinement - (hereafter PHD)- at the PHD Unit in SWSP, defendant Sooy stated
    to plaintiff that he had read the diary log book and that it was never going
    to be returned to plaintiff because defendant Pepper was going to keep it
    and plaintiff asked him why would his diary log book be taken by defendant
    Pepper and he replied "you are investigating officers for watching tv and
    smoking E-cigarettes and other stuff".

          (123) On 12/19/2019 plaintiff was served notice that he was receiving
    ( 3) disciplinary charges. The alleged charges were for alleged violations
    of rules 102 planning an escape, 210 possession of anything not authorized
    for retention .£;. rec,e ipt ~ an inmate £E_ not issued to him £!:. her through
    regular correctional facility channels, and 360 unlawfully obtaining or
    seeking to obtain personal information ertainin to an inmate I s victim or
    ~ victim's ~amily and were all dated 1217 2019.      - -

         (124) On 12/19/2019 plaintiff received Three separate reports alleging
    he had violated the charges identified in the last paragraph - (124) -
    authored by defendants Ng and Pepper. Those Three charges were fabricated
    to retaliate/punish plaintiff and plaintiff was going to learn that defendants
    Ng and Pepper used the cell search not only as a platform to punish but a
    larger purpose of destroying plaintiff's documentary and written and floppy
    disk evidence/data, was done at the same time . Before plaintiff can provide
    this court and jury the facts supporting this allegation of fabricated charges
    and retaliation and punishment and destruction of evidence, it is first
    necessary to develop f acts that support what the jury will understand; those
    facts in context with prison regulations and prisoner limited rights are
    not common knowledge to everyone , since the jury is comprised of free persons
    it has no point of reference as to what if any rights or regulations attach
    to a prisoner in New Jersey .

         (125) On 12/17/2019 plaintiff was required to follow all written and
    posted rules that are listed in specific detail in N. J .A.C. lOA: chapter
    4 and the inmate handbook provided at each prison. Plaintiff read all rules
    and regulations and knew what was required of his behavior.

         (126 ) In prison there are limited rights and privileges and there are
    exact rules , regulations, policies and procedures established in written
    documents contained in N. J.A . C. lOA, and Level 1 and Level 3 IMP ' s developed
    and approved at NJDOC Central Office APPM Unit. Once plaintiff is well
    behaved by compliance with the written regulations he may avail himself of
    limited rights and privileges which are protected and may not be withheld
    or limited without justification that the written rules governing such
    limited rights and privileges policies and procedures provide.

          (127)   Once a prisoner (plaintiff) who has followed the written
    regulations finds that he is being treated unfairly and or illegally
    concerning his clearly established and earned limited rights and privileges
    he is required t o follow specific regulations to file a complaint for redress
    and resolution and it is illegal to retaliate against plaintiff for filing
    s uch formal complaint .


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          (128) When confined in NJDOC the written rules and regulations restrict
    a very small amount of written publications from being sent t o plaintiff
    from outside the prison , but there a re no rules or regulations that regula te
    or limit plaintiff fr om writing to friends and family outside of prison or
    writing in a diary log book he has in his cell. Plaintiff possesses diary
    log books of each prison he has spent more than (2) mont hs at. Each diary
    log book contains specific information concerning his cell a nd areas of the
    prison he a ccesses daily that impact his confinement and memorialize the
    names of people and times and dates of day t o day life in prison especially
    on da ys tha t he has eventful things to record in his diary log books . Each
    dia ry log book is bound by staples and consecutively numbere d is each page,
    prior to a nything being written on any page; and failing memory makes
    pla intiff use his dia ry log books . Each diary l og book is self c ontained
    with the numbering of each page, and the dating of each entry with dra wn
    lines that separate each entry so that any interloper reading them always
    knows that plaintiff tells each separate occurrence and each digest within,
    which est a blishes context; and those diary log books a r e at all times lawful
    to write and possess wit hin a New Jersey prison, as was the case on 12/17/ 2019
    when plaintiff 's cell F-128 at Baysi de State Prison was the subject of a
    targeted cell search, done to create a fal se narrative as a s moke screen
    to pretend justification of the false c ha rges and to steal intellec tual
    property - ( muc h of whic h was 76 days of collected evidence concerning BSP),
    a nd pla intiff's library of Level 1 a nd Level 3 IMP's, and other property
    owned by plaintiff, by the intentional e vil acts of defendants Ng and pe ppe r.

           (129) Before being served a copy of the aforementioned (3) disciplinary
    cha r ges in the PHD Unit inside SWSP on 12/19 /2019, pla intiff was i nterviewed
    by defendants Gardner and Achinko. Pla intiff was called by def endants Achinko
    and Gardner to an i nterview room where a digital video recording device
    recorded t he entire interview , that was done on 12/18/2019 i nside PHD.

          (130)   Plaintiff provided defendants Gardner a nd Achinko his history
    while at BSP, everything including letters he ha d writte n t o def endant
    Gardner, a nd defendant Grade and defendant DiBenedetti.     It was at this
    interview plaintiff was told for the first time that the (3 page) letter
    da ted 12/3/ 2019 addressed to SID defendant Gardner was ne ve r received by
    him .   Yet at this point plaintiff had no knowledge that those letters sent
    to defenda nts Grade a nd DiBeneditti also were stolen from t he mail box on
    F-Housing Unit.

          (131)  Plaintiff identified the same dates and times he has writte n
    a bout in this complaint and asked defendants Gardner and Achinko to prese rve
    the Digita l security video from 12/16/ 2019 a nd 12/17/ 2019 at Bayside State
    Prison Housing Unit F a nd further plaintiff gave times and dates of be ing
    interviewed by defendant Alexander and his (100 page) diary log book that
    was recorded with defendant Pepper a nd Ng; and plaintiff was assured that
    a n investigation and security video preservation would be done.

          (132) At this point plaintiff was s tarting to draw conclusions about
    wha t had made the offi cers on F Hous ing Unit t o continually refuse to sign
    the business remit with the certified 12/12/2019 SID letter to defe ndant
    Grade and it a ppear e d that the 12/3/2019 handwritten letter to defenda nt
    Gardner was stolen and then certain of these defendants watched for whe n
    another SID or other l e tters seeking redress of the crimes at BSP would be
    sent by plaintiff and the search of cell F-128 a nd the Three aforementioned



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     charges were the r esult of this illegal activity . Plaintiff now had a great
     deal of out reach to his family and attorneys to do . • This Court and jury
     will see the extraordinary efforts that were done to cement these fabricated
     charges and run the clock out beyond (30 days) so plaintiff could not get
     word to officials with      the power to preserve the 12/16/2019 and the
     12/17/2019 F-Housing Unit security film before it was overwritten or erased.

          (133) Plaintiff was very concerned with the location of his diary log
     book and wanted it produced for his hearing on the fabricated charges he
     would need to provide for the hearing officer because context would be a
     key factor to defend 'against charges alleging planning an escape.

          (134)   In the state of New Jersey there are laws requiring certain
     records be preserved. New Jersey State General Records Schedule #Gl00000-
     010 (series    #21-00-0000) provided to me by defendant Falvey 2/6/2020
     under O.P.R.A. records #17541 -(which are possessed by plaintiff)- provide
     the days or years each record mus t be retained and when they may be destroyed .
     The records retention listed for correctional f&cility security film for
     Bayside State Prison F Housing Unit was (30 days). The new digital system
     being used through out NJDOC permitted and permits retention permanently
     when it serves it's own purposes but for anyone else the retention period
     was/is only (30 days), unless notice was/is provided for the need to preserve
     security film beyond (30 days) and that was triggered by providing the dates
     and approximate times for security film that recorded an incident involving
     an officer or inmate, but the caveat is that the film recording will only
     be saved if the notice for preservation is received prior to 30 days from
     date of incident(s).

          (135 ) Plaintiff sent out about (12) letters to attorney Michael Poreda
     and Mr. Huebner and ex-wife Elsie Sanchez trying to have the security fi lm
     of F Housing Unit at BSP preserved for specific dates and times 12/16/2019
     and   12/17/2019 that were fortunately        successful through documented
     communications between Elsie Sanchez and defendants Grade and Soltys , Burke
     and Matthews 1/3/2020 through 1/10/2020; and beyond by plaintiff' friend
     Mr. Huebner and defendant Soltys on 1/16/2020.
            (136) Plaintiff was brought to a room in the PHD on 12/19/2019 where
     :some person named Zimmerman asked plaintiff if he wanted a polygrapl') and
       plaintiff was told he would meet with inmate legal assistant David Ribble
       and prepare the request for polygraph. Plaintiff was r eturned to his cell
      -in PHD cell 1015.
      (


          (137) A digression is needed before continuing . Plaintiff must provide
     facts of PHD confinement so that the court and jury can have the facts
     hecessa-ry to understand plaintiff ' s allegations as to PHD.

            (138)   PHD confinement in NJD0C was allegedly designed for removing
      disruptive prisoners from general population areas within the prison .for
     · periods of .confinement, the procedure is very specific and is found in IMP
      #ADM.019.PHDH.Ol revised 4/13/2018 (14 pages).
           (139) Plaintiff was placed on PHD and in that status he was permitted
      access to a pillow, reading materials, legal materials and J pay player per
      Sec.Vat~ (13) of #IMP ADM.019.PHDH.Ol however these items were refused
      when plaintiff requested them, in fact defendant Falvey on 2/6/2020 under
      0.P.R.A. records #17581 he intentionally altered this IMP to delay/prevent


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     plaintiff from learning his rights         under the most restrictive confinement
     in all of NJDOC , the portions of IMP      he altered by blacking it out are found
     at page (4) sec . IV . (C)(l) (b)- (e) ,   all of™ (7) , ™        (8) sec . (c) a nd
     il_h and page (13) sec.'!_:_               -   -       --         -   - - --

          (140) Plaintiff was only allowed to write with pen and paper smuggled
     to him by inmates and an officer or he would have been unable to prepare
     any written defense to these fabricated charges . All of plaintiff's persona l
     property was withheld and it took over a month to l earn t hat defendants Ng
     a nd Pepper took more than his diary log book and thousands of pages of
     authorized O.P. R.A . records, when he was allowed for the first time to possess
     any of his property that was possessed by him in cell F-128 in BSP on
     12/17/2019.

          (141) Plaintiff requested to use the electronic kiosk a nd phone his
     attorneys and was told that he would not be allowed access to phone or kiosk
     while he was still on PHD status a nd plaintiff asked when that PHD status
     would be lifted and the answer was that he would be t aken off that status
     on the day of his being found guilty by the hearing officer. As it turned
     out plaintiff was not released from PHD until (14 days) after the day that
     the hearing officer defendant DiBenedetto had allegedly r endered a decision
     on 1/3/2020 but plaintiff was never told he had been found guilty because
     he was never actually brought to any hearing and on 1/4/2020 he was ordered
     transferred to New Jersey State Prison ( here after NJSP) where he was placed
     into PHD detention in the North Compound Housing Unit 2-B-Right-cell-3.

          (142) On 12/19/2019 plaintiff was met at his cell 1015 , in PHD where
     legal assistant David Ribble explai ned that he would file the request for
     a polygraph examination a nd that the hearing officer would be defendant
     DiBenedetto and would not start the hearing until the request for polygraph
     examination was answered by the Administrator, defendant Gramp , bu t that
     the confr ontation examination of defendants Ng a nd Pepper would be done when
     they were available . Additionally plai ntiff wanted a copy of the documentary
     evidence being used by defendants Ng and Pepper to support t he (3) charges
     and then he left and when he came back he brought plaintiff some s heet s
     of typing paper and a pen to use to create a list of witnesses , documents
     and requests for the preparation of his defense .        At that time he told
     plaint iff t hat t he hearing officer would copy all of the documents plaintiff
     created and provide him a copy and scan a copy into the hearing record file.
     When plaintiff asked for the documents being used against him assistant Ribble
     told plaintiff that the hearing officer, defendant DiBenedetto, would allow
     review of   those doc uments but no copies wo uld be provided and that copies
     of them would be available through O.P.R.A .. So plaintiff asked when he would
     be allowed to review those documents and he was told at a latter date. That
     date never occurred as plaint iff will establish by the facts that follow .
          (143) On 12/24/2019 defendant Gramp denied plaintiff' s 12/19/2019 First
     polygraph request and on 12/31/2019 plaintiff was allowed by defendant
     DiBenedetto to file a second polygraph request after she read the (21 page)
     1/21/2019 certified affidavit and (5 page) supplemental certified affidavit
     dated 12/28/2019, which Mr. Ribble said she took home to read . So plaintiff
     composed a (9 page) polygraph examination Second request for filing with
     defendant Gramp and to this point plaintiff had not been brought to start
     the hearing and again this new polygraph request would delay the start of
     the hear i ng as per defendant DiBenedetto.



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          (144) On 1/2/2020 assistant Ribble came to plaintiff's cell in PHD
    and told him that the confrontation portion would happen and that the prepared
    questions that plaintiff had prepared for confronting defendants Ng and Pepper
    was being reduced to only a few and when plaintiff asked to speak with the
    hearing officer, defendant DiBenedetto concerning those questions and he
    said she -(defendant DiBenedetto)- is already speaking to them -(defendants
    Ng and Pepper)- and she was not allowing plaintiff to establish his defense.
    Then plaintiff asked when he was going to be allowed to have the other
    witnesses and documents produced for when defendant DiBenedetto was going
    to schedule the hearing and assistant Ribble stated she -(defendant
    DiBenedetto)- has no intention of allowing you to have witnesses or documents
    and she had decided not to allow plaintiff to examine the documents provided
    by defendants Ng and Pepper that they used to support the (3) charges. Soon
    after plaintiff was brought to a tiny r oom and was kept handcuffed with a
    chain around the waist, so that plaintiff could not even hold and read his
    ques tions to defendants Ng and Pepper. The so called confrontation portion
    of the disciplinary Dueprocess procedure was intentionally conducted to
    violate plaintiff's disciplinary hearing dueprocess rights.

         (145) The so called confrontation portion of the disciplinary hearing
    process l asted less than (10) minutes and defendant Pepper while not realizing
    both assistant Ribble and plaintiff could hear him talking to defendant
    DiBenedetto, and he told her that there was allot more papers he took from
    plaintiff's cell and he wanted her -(defendant DiBenedetto)- to contact SID.

         (146) After the fraud confrontation portion of the disciplinary process
    was completed in the (10) minutes it took plaintiff was returned to his cell
    where assistant Ribble came directly after and asked plaintiff if he was
    aware of the secret discussions he had overheard between defendants
    DiBenedetto and Pepper concerning allot of other documents retained by SID,
    plaintiff and Mr. Ribble discussed what was overheard and t hen plaintiff
    asked him would he testify in court to the illegal portions of hearing he
    had witnessed and he said he would.

         (147) Plaintiff was then told by Assistant Ribble that there was no
    decision yet on the Second polygraph examination request and that once it
    was r endered then plaintiff would be called to the actual hearing and he
    would be allowed to address the hearing officer defendant DiBenedetto. But
    on 1/3/2020 while plaintiff was in the -(once every 3 day)- shower officer
    Smith came into cell #1015 and stole plaintiff's make shift diary log    -(not
    yet stapled as a book)- that had been written on the backs of grievance forms,
    -(because paper supplies were being denied plaintiff sufficient to prepare
    documents)- and plaintiff yelled for a Sergeant or Lieutenant but the theft
    was allowed to be covered up. At that time plaintiff had no idea why officer
    Smith decided to steal those diary log records but the next morning plaintiff
    was moved to NJSP and all officers -(in PHD)- told plaintiff they did not
    know why he had been transferred from SWSP prior t o the hearing completion.
    Then (10 days) later on 1/14/2020 plaintiff was told that he was being
    released f rom PHD restrictions and that defendant DiBenedetto had improperly
    withheld the hearing decision papers since 1/3/2020 and that was the reason
    that NJSP had left plaintiff on PHD detention when there was no reason he
    should have been left on it after arriving at NJSP on 1/4/2020.

          (148) So plaintiff finds out on 1/14/2020 that he was found guilty
     of 102 and 210 without any hearing and without being allowed to examine or
     confront the evidence documents. Defendant DiBenedetto committed fraud and
     illegally conducted the disciplinary hearing.


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          (149)   Plaintiff neglected to mention that at the close of 1/2/2020
     after being outr aged by the fr audulent confrontation of defendants Ng and
     Pepper and denial of access to the evidence and other conditions of
     confinement matters, and issues with the hearing process or lack thereof,
     plaintiff wrote a (19 page) letter/certified affidavit to defendant
     DiBenedetto that was actually completed in NJSP on the day of transfer thereto
     1/4/2020; that affidavit was constructed by plaintiff believing that the
     transfer to NJSP was temporary since the hearing completion, -(as far as
     NJSP officials/officers and plaintiff believed)- was still to be completed
     back at SWSP , and this (19 page) affidavit was made part of the appeal that
     will be discussed below, that was drafted by NJSP paralegal assistant Marqis
     Kennon, ID #296957, and refined a bit by plaintiff and retyped by him since
     plaintiff had no access to any of his property nor his word processor at
     the time of the construction of the appeal 1/24/2020 .      Mr . Kennon did an
     extraordinary job on that appeal (9 pages), addressed to defendant Gramp
     as per the required procedure .

          (150)   On 2/19/2020 defendant Maines filed a decision, for defendant
     Gramp, that upheld the decision rendered by defendant DiBenedetto , allegedly
     on 1/3/2020, which addressed only charge 102 planning an escape with no
     mention of the other two charges that were presuma bly dismis sed.

          (151)    At this point 2/19/2020 defendants directly responsible for
     plaintiff being illegally confined by the fabricated charges of 12/ 17/2019
     to include the constitutionally violative review of polygraphs requests and
     illegally detaining plaintiff on PHD confinement (10) extra days, and for
     conditions of confinement issues and all matters connected , will be named
     with prope r connections to facts and each other f urther on in this complaint .

           (152) While confined at NJSP on PHD status plaintiff was denied all
     access to all personal property and use of phone, kiosk , hair cuts, Lexis
     N.exis computer access , reading books and legal books , attorney phone access
     and kosher diet and shaving , all without lawful purpose and di rectly against
     the regulations policy and procedures for disciplinary confinement and PHD
     confinement and were intentionally done as a pattern and practice to punish.

            (153) At this point it is i mportant to remind the court and jury that
     -p laintiff made the required inquiry and grievance complaints and addit:i,.onal
      complaints made for him by Mr . Huebner and ex-wife Elsie Sanchez, to address
      each individual matter that is imputed to any and all of these defendants
     (
      as violating a New Jersey statute, New Jersey Constitution, United States
      Constitution Amendment; in short all administrative r emedies and appeals
      required by NJDOC regulation , policy and procedure has been complied with
       by plaintiff, which applies to each allegation made within the Four corners
       of this complaint and there is a document or security film plaintiff will
       produce a t trial for each a nd every fact he alleges herein, so that the court
       and jury will not have to rest on simply those allegations made by this .
       plaintiff . Documents and security film already possessed by defendants .

            (154) Additionally it should be noted here that there is this set of
       operating instructions for every area of the prison called post orders and
      ·log books and they cannot be destroyed or lost without accountability and
       if any log or post order becomes missing this plaintiff knows how to identify
       the persons who would have done such an activity which would be spoliation.
       This plaintiff will expose all spoliation aggressively in addition to what
       defendant pepper has done, should any other defendant choose that path .


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         (155) Th.e determination of guilt by defendant DiBenedetto for charge
    102 (planning an escape) was allegedly based upon (16 pages) of documents
    that defendants Ng and Pepper removed from plaintiff's cell F-128 at Bayside
    State Prison on 12/17/2019, these (16 pages) were marked A6-1 - A6-16.
    Plaintiff was never allowed to examine them but assistant David Ribble said
    he had caught sight of them when defendant DiBenedetto was going over the
    hearing r ecord, and he gave plaintiff an idea of what they appeared to be,
    and as soon as plaintiff was told this he asked if the yellow diary log book
    was in the file and was informed by assistant Ribble, that there was only
    the (16 pages) that were copies of hand writing on lined paper 8½ x 11 in
    size but no 8½ x 14 lined yellow pages stapled at the top. Plaintiff filed
    a request for 0.P.R.A. records of the disciplinary file and the disciplinary
    decision of defendant DiBenedetto dated 1/3/2020, and defendant Falvey sent
    that 0.P.R.A. request under tracking #17503 on 1/ 16/2020 documents of the
    hearing r ecord to include (16 pages) marked A6-l - A6-16 that were redacted
    to prevent plaintiff from filing an administrative appeal and to prevent
    plaintiff from filing a meaningful challenge of the fabricated charges filed
    by defendants Ng and Pepper 12/17/2019. This is important because the hearing
    officer defendant DiBenedetto did not mark any of the evidence or testimony
    under the sections of the disciplinary documents that allow for preventing
    such evidence from disclosure, there was no legal reason to hide documents
    which were taken from plaintiff's cell as all the evidence used against him.

         (156) Even though defendant Falvey was obstructing plai ntiff from review
    of the evidence pages A6-l - A6-16 by blacking out most of t hem plaintiff
    was still able to conduct forensic measurements of the lines and determined
    that the ( 16 pages) had been cropped intentionally by copying and re copying
    so that certain of the pages would loose their true original construct; which
    was spoliation of the diary log book evidence. Plaintiff will revisit this
    further on in this complaint, first other facts need to be stated at this
    point in this complaint. Question: after altering the copies where is
    original diary log book?

         (157) At trial plaintiff will produce for the court and jury documents
    that are produced by certain of these defendants or maintained by certain
    of these defendants that are used to provide to the public and courts t he
    appearance that complaints made by plaintiff specifically and other prisoners,
    are addressed, while the actual use of the Inmate Remedy System has devolved
    to a pattern and practice that defendants use to obfuscate and obstruct
    procedural and substantive Due Process of Law with the intent that plaintiff's
    rights and privileges, that are allowed him as a convicted prisoner, may
    be taken, a bridged and prevented at the whim and caprice and in arbitrary
    fashion by these defendants, and the Inmate Remedy System is being used/has
    been used to provide a smoke screen where complaints plaintiff will prove
    at trial, that he made, that implicated state and federal rights, were valid
    and intentionally kept spinning in circular manner so that no matter the
    complaint made by plaintiff no resolution whatsoever would be had, and that
    pattern and practice forced plaintiff to find a way to expose this pattern
    and practice; which he has done, as facts establish below.

          (158) Plaintiff has come to learn by doc uments produced by defenda nts
     that the Inmate Remedy System has simultaneously a lso devolved in/to its's
     now perverted use, where it has been designed by defendant s - ( who are
     attorneys, tlicks, Burke and Falvey to name a few) - to insulate, where ever



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     possible, .each of the defendants from being directly placed on notice , of
     any cow~]aint made, so that they can pretend qualified immunity of direct
     or supervisor liability; so they operate as does organized crime families
     do in R. I .C .O. cases, where they never have direct knowledge of the complaint
     or by rote designate to other persons the pretended pro forma complaint
     resolution process , whereby no NJDOC employee knows anything .

          (159) NJDOC IMP #ITI.001.0IT.001 titled (DOCNet Procedures/Users'/Manual )
     revised 3/22/2019 (33 pages) , is the NJDOC standards and procedure for the
     use of information technology and at pages 14- 16 are the instructions for
     NJDOC use of E-mail. And t he April 2019 edition of the NJDOC Telephone
     Director y provides the correct E-mail address for all defendants. Plaintiff
     and New York friends Mr . Huebner and Mr. Lynch and plaintiff ' s ex- wife Elsie
     Sanchez were provided by pl aintiff the procedur es for sending defendants
     E-mails .

            (160) On January 30 , 2020 Elsie Sanchez sent an E-mail structured like
     this (sample : Marcus . Hicks@doc.nj . gov) . Plaintiff had her send the following
     defendants the E- mail : Bonds , Hicks , Gramp , Davis , Richards, Grade, Soltys,
     DiBenedetti , Gangi, Smith, Blakeslee , Matthews, Maines, Stigliano, Ganesh,
     Falvey, Burke , Sargenti, Gardner , Haley , Cope , Ricci , Lawrence, Norris,
     Achinko, Vaught, Emirch, Hampton, Mcduffie, Stem, Crothers, and Mainstream.
     with (2 page) cover letter that identified crimes committed against plaintiff
     and indicating that there wer e (14 separate) attachments that provided each
     defendant above named a copy of plaintiff ' s 12/21/2019 (21 page) certified
     defense affidavit, 12/28/2019 (5 page) s upplemental certified affidavit,
     12/27/2019 (3 page) letter to Elsie Sanchez, (9 page) Second polygraph
     examination request dated 12/31/2019 , (19 page) certified affidavit dated
     1/2/2020 to hearing officer (defendant) [DiBenedetti] regarding pre-hearing
     irregul arities , (12 page) letter to Elsie Sanchez dated 1/4/2020, (2 page)
     hearing officer (defendant) DiBenedetto discipl inar y decision typed dated
     1/3/2020, ( 11 pages) of hear ing record without any documentary evidence and
      (25 page) letter to Elsie Sanchez dated 1/12/2020, all these were sent in
      scanned increments totaling the Fourteen attachments to said E-mail and
      collectively. these documents provided extremely detailed facts and evidence
      that listed names , security film , SID investigators, dates and places which
      prcrvi.ded the defendants listed , a clear mandate, a clear duty to investigate
      and or cause to be investigated the Federal Constitutional, and state of
      New Jersey Constitutional and Regulitory violative crimes against plaintiff:
      each of these documents provided each of these defendants actual direct
      cO!Bfl.ete ~edge ~ plaintiffs complaints, t hat are the same complaints
     'mad-e in this civil rights complaint, but these defendant s took no action
      and. rather than take action to resolve or investigate the matters placed
      upon their NJDOC E- mail ' s they pretended nothing to see , nothing to do and
      thereafter attempted to cover up the complaints made by this plaintiff and
      or encow::a:2.e others to refrain from investigating or resolving the matters
      prorided -+d; their knowledge . They were deliberately indifferent .

           (161) The same E-mail discussed in paragraph (160) above        was re-sent
      on 2/23/2020 , with nothing done and no r esponse .
           (162) The same E-mail discussed in paragraph (160) above was resent
      to defendants on 6/26/2020 and again no response and nothing done .

            (163) On 6/19/2020 about (1670 pages) of some of the IMP ' s stolen from
      cell F-128 at BSP on 12/17/2019 by defendants Ng & Pepper, were brought to
      plain.t..i.fPs cell in NJSP .

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          (164) A digression is necessary here as plaintiff forgot to mention
     above in paragraph (115) that his cell had been routinely searched
     approximately a week prior to the 12/17/2019 targeted cell search and proof
     of that fact can be found in the F-Housing Unit cell search cloth bound
     consecutively numbered log book that records each cell search.

          (165) Plaintiff now gets back to the 6/19/2020 return of approximately
    ( 1670) pages of O.P .R . A. records at cell #57 in the West Compound 2-Right
    Housing Unit, by Senior Corrections Officer Francis indicated that he had
    been ordered by package room to bring the box (a Mason copy paper box) to
    plaintiff.

         (166) Plaintiff immediately started an exact cataloging of each document
    returned that day that had been lawfully possessed in his cell F-128 inside
    BSP on 12/ 17/2019 , and these efforts were completed on 6/25/2020. Plaintiff
    then sent a copy of this ( typed 9 page) list of the returned (1670 pages)
    of documents to Elsie Sanchez for her to then scan that list and send it
    as an attachment to a ( 1) page E-mail to each of the defendants listed above
    in paragraph (160), and on August 7, 2020 Elsie Sanchez sent each of those
    named defendants a copy of that (9 page) list of the returned documents.

         ( 167 ) It should be noted at this point that plaintiff has direct
    knowledge that defendants were served the documents identified a bove in this
    complaint at paragraphs (160) and (166) because Elsie Sanchez sent plaintiff
    copies from her computer that show the successful transmission and reception
    of all such E-mails with the exact times and dates sent and received, and
    these are going to be produced for the court and jury at trial as will a ll
    the other documents plaintiff has that support every fact he claims in this
    complaint.

          (168) In addition to plaintiff merely constructing that (9 page)
     6/19/2020 - 6/25/2020 list it was also very important to this complaint in
     that certain of those documents that were returned were the very same that
     had been used to fabricate (2) of the (16 pages) of alleged evidence that
     defendants Ng and Pepper attached to their (3) misbehavior reports of
     12/17/2019. which will be discussed below in this complaint.

           (169) Moving forward ahead of other matters needed to be addressed ,
     but necessary to be addressed now, is the moment when plaintiff was provided
     all (16 pages) of the documents A6-l - A6-16 that were un-redacted, which
     came on 8/25/2020 from his attorney Michael Poreda. Upon review for the
     firs t time these un-redacted copies, plaintiff had conclusive proof that
     not only were there altered pages but the same pages copied twice, which
     will be developed extensively below.

          (170) At the time of drafting this part of this complaint , 4/21/2021,
     plaintiff is still waiting for the decision of the New J ersey Superior Court
     Appellate Division, i n RE: Darius Gittens ~ New Jersey Department of
     Corrections Docket #A-3008-19 that currently has been fully s ubmitted which
     seeks to reverse the illegal decision of defendant DiBenedetto rendered
     allegedly rendered 1/3/2020. This is necessary to mention here because within
     the filings by plaintiff's attorney, Michael Poreda, in that matter , is an
     (18 page) certified affidavit dated 8/26/2020 which was to support a motion
     made by Esq . Poreda for settling the record and supplementation of the
     record of the disciplinary hearing on appeal,      and plaintiff constructed



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    an extensive forensic dissertation on each of the aforementioned documents
    A6-1 - A6-16 found at (pages 10 - 12) and ( pages 14 - 18) which plaintiff
    will again recount as it is necessary for this court and jury see these facts
    framed in this complaint to fully comprehend the extraordinary fraud that
    defendants Ng and Pepper presented to defendant DiBenedetto, which is
    foundational to plaintiff's claims against all of these defendants where
    none of them investigated anything but t hrough silence and obfuscation and
    or out right obstruction caused and or allowed illegal fabrication of charges,
    spoliation of key evidence, and refusal to allow review of evidence alleged
    to support the Three charges and refusal to conduct meaningful review of
    polygraph requests and fraudulent disciplinary decision appeal review.

         ( 171) Defendant DiBenedetto prevented plaintiff all access to evidence
    documents she marked A6-1 .::. A6-16 which prevented plaintiff from providing
    context and facts she would be required to investigate prior to rendering
    any decision and plaintiff will now provide the facts below and it is
    plaintiff's intention, in providing them, that the court and jury view this
    presentation not only as impacting the hearing itself but also the entire
    construct of the fabrication of false charges combined with the immediate
    evil and c riminal destruction of the very evidence comprising the fabricated
    charges done to prevent plaintiff and defendants from review and investigation
    of the actual unaltered diary log book.

         (172) Please keep in mind that those (16) pages were marked by defendant
    DiBenedetto A6-1 - A6-16 that was clearly random and without regard to any
    mind set seemingly without a thought as to the same document being repeated
    nor presented with any mind set towards context; plaintiff now provides this
    court and jury the facts each document presents that he was intentionally
    prevented from doing by defendant DiBenedetto prior to her decision made
    without allowing plaintiff to attend a hearing upon which that decision was
    allegedly predicated upon.

          (173) A6-1: This page from t he missing diary log book dated 10/17/2019,
     it was written after plaintiff had been moved to Trailer 2 complex for (2)
     days. - (please note: defendants have a document they create as a normal
     operating function of tracking inmates within NJDOC called ("Inmate Management
     Progress Notes Report"). The court can take judicial notice and use this
     document from plaintiff's classification folder to track each housing
     location , and each date plaintiff arrives and leaves each cell or bed
     location) -    and this page is part of (3) more pages that described the
     entire Trailer 2 complex, the lighting, rotted flooring , emergency exits
     bolted so that in an emergency fire the push bar at each emergency exit was
     only a prop because each door has (2) double sided (keys on both sides),
     clogged air filters so that the (7) (Five ton package air conditioners were
     on without air blowing), etc., this page concerned the condition of
     confinement that existed in Trailer 2 complex, and the bottom (9) lines have
     been copied and cropped and copied again to hide the context that was written,
     that would show that the diary log book was a digest of the various areas
     that impacted plaintiff' s day to day conditions of confinement . And the
     removal of the bottom was to hide the fact that this page was nWBbered at
     bottom consecutively .

          (174) A6-2: This document causes plaintiff to open his South Woods
     State Prison diary log book where at (page 176) the date 3/7/2018 . On this
     date there was flooding coming from a higher cell somewhere, but during the
     cleanup the pipe chase next to plaintiff's cell 1-H2-1R-1042 was left open


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     to dry out and when plaintiff looked into that opened pipe chase ( water
     c loset) he saw that there was an aluminum building tag about 4 X 4 inches
     that provided the exact (modular building) construction data as follows:
     "South Woods State Pri son facili ty 1 ~ building housing uni t 2- 1 Right,
     construct ed ~ N.T.A. Inc. on ll/29/I§'95. cell ~ C469-155. (NTA Modul ar
     Bui lding Construction) "seriaf #A- 13- 155, Seal F2- 66820, Serial inspection
     #04001172 Buildi ng Colllllission". Plaintiff was writing books on every type
     of condition of confinement a t all New Jersey prisons , and this prison South
     Woods State Prison was/is a modular prison . So on 3/7/2018 plaintiff wrote
     down the specifications mentioned above and he wrote concerning flooding
     and the modular nature of t he prison he was in. Additionally , plaintiff
     wrote a series of loosely drawn diagrams , this A6-2 document was One of them.
     The dimensions of the cells in South Woods State Prison are 148 X 78 inches
     and this Court and jury will see later when plaintiff digests (A6-5 and A6-
     16) it will become immediately apparent that those dimensions are for South
     Woods State Prison. First of al l there are no cells in Bayside State Prison
     with t hese sizes , the cells i n Bayside State Prison are approximately 120
     inches X 78 inches, and the bed height from floor to top bunk is (48) inches.
     Not (57) inches . Additionally , there are no seats or shelves in Bayside State
     Prison cells. Also there are no lines in this hand written document (diagram)
     and plaintiff wrote exclusivel y on yellow lined paper (8 ½ X 14) while he
     was in Bayside State Prison . Please note that in 2018 while still in South
     Woods Sta te Prison plaintiff filed an O.P. R. A. records request seeking the
     business records concerning the same exact modular building company
     corresponding to this same company identified herein as l isted on page (176)
     of his South Woods Sta te Prison diary log book and both the diary log book
     and the (O.P.R.A. records request and response by defendant Falvey will
     be introducedto the court and jury at trial.

          (17 5) A6-3: This page from the missing diary log book was part ially
     written to address plaintiff I s disability that makes it very difficult and
     painful to climb any stairs, and there are only (24) lines, with (14) lines
     missing, t hat explained conditions of confinement; and the page is
     intentionally copied t hen cropped and re-copied .      And the page and date
     has been removed to hide t he fact t hat t his page was written within t he First
     week plaint iff was in Bayside State Prison and prior to moving from cell
     B-143 on 10/15/2019 . Clearly this is against the false narrative of defendant
     pepper's charge 102 misbehavior report dated 12/ 17/2019 and his preliminary
     Incident Report drafted on For m #CUS-101 dated 12/17/2019 at 20: 00: 00 hours
     (military time written on the report) where he states tha t plaintiff had
     "detailed maps of F- Uni t and detailed~ of cel ls within F-Unit".

           ( 176) A6-4: This document is a page copied from O.P.R . A. record #16358
      that was r ecorded on security film of officer desk area 12/17/2019 being
      read by defendants Ng, Togno and Pepper at F Housing Unit officer desk area.
      This was copied from said O.P . R.A. record #16358 that plaintiff currently
      possesses because that entire document t hat consists of the compilation
      of New Jersey State Employees official names , titles and salaries for (4)
      prison NJSP , EJSP , BSP and CRAF. This document was stapled at the top with
      brief staples ( the same construction -(as the 100 page subject diary log
      book)- a nd it had/has a total of (96 pages) , and t his document was the same
      one identified in the (9 page) 6/19/2020 - 6/25/2020 document referenced
      in this complaint at paragraphs 163, 165 , 166 , 167 and 168 supra. This
      document was at all times authorized (O . P .R.A. record #16358) and it too


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     was fully di gested in said E-mail - (see paragraph 166 supra)- Elsie Sanchez
     sent to named defendants, and the purpose of it ' s use to plaintiff i s t he
     same as he used it for this complaint, to properly identify each officer
     or employee that he was writing about, so proper full name can be used in
     civil r i ghts litigation and writing books on prison life and conditions
     of confinement as also was the case for creation a nd use of the diary log
     book. Both this document and the diary log book were both recorded at the
     officer desk in F housing unit on 12/17/2019 being read by defendants Ng
     and Pepper , as well as other of ficer s who all kept l ooking back towards where
     plaintiff was ordered to sit, and there was anger in their faces because
     they saw t hat plaintiff had written about officer s illegal behavior.

          (177) A6-5: This document again having nothing t o do with Bayside St a t e
     Prison, was/is the dimensions of the yard in South Woods State Prison . Every
     employee in BSP knows that there are no double door lockers , nor are there
     any (9) s i ded yards , nor hand ball courts, nor 132 foot demising wall ( 12)
     feet high, nor any day rooms . This document was kept -(along with a ll loose
     un-lined pages, of which there was/ar e about 9) - in a manila envelope marked
     "psychological factors in cell design and yard design at South Woods State
     Prison , for use in court cases and writing books" .

           (178) A6-6 : This document was taken from the l ast page of the NJDOC
     April 2019 tel ephone Directory , authorized by O. P.R . A. record #16896 on
     7/11/2019 by defendant Falvey. Defendant Pepper ripped it from that phone
     directory, it was page #91 , and defendant Pepper pretended that it was found
     as a loose page and that it was part of an escape plan plaintiff was involved
     with inside BSP Housing Unit-F, when clea rly it is a ma p of the NJDOC Central
     Office which when that telephone Directory is opened to page (61) the r eader
     sees a list of all NJDOC "Correctional Facilities " addresses and the distance
     in miles each facility i s from NJDOC Central Office and it s hows that BSP
     is (88) miles from NJDOC Central Office . All these defendants pretended
     not to notice the utter fraud bei ng committed by defendant Pepper when he
     ripped out that page an attached it to t he other (15) pages, pr etending it
     was used in an escape plan. This document was returned t o plaintiff amongst
     the ( 1670) pages of O.P .R.A. records returned to plaintiff on 6/ 19/ 2020 and
     it is identified as being returned at page (9) (line 16) of paragraph (32)
     of the ( 9) page E- mail identified in paragraph (167) of this complaint.
     Plai ntiff possesses this document page (91) and t he res t of the Phone
     Directory (90) pages for t he court and jury at trial .

          (179) A6- 7: This page from the missing diary log book dated 10/ 6/ 2019
     and clearly marked at bottom of page in the center, page (12 ) ; this page
     a diagr am memorializing the prison plaintiff was continuing to write about
     in tha t diary log book for use in civil rights litigati on in court and books
     being constructed on BSP prison conditions and prison life . Plaintiff had
     been i n this cell located i n Housing Unit-B for ( 4 days). The context leading
     up to this loosely drawn diagram preceding this page (12) was intentionally
     destroyed - (spoliation) - by defendant Pepper and had only (35) lines,
     meaning t he top (3) lines of text were copied cropped and re-copied . These
     defendan t s all have pretended that ther e is nothing to see no awful stink
     just silence against the back drop of certified complaints and security
     video and SID recorded interview evidence; the s t ink of corruption in
     plaintiff ' s case here before this court and jury reeks as a festering pustule.




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         (180) A6-8: This page from the missing diary log book was written on
    or about 10/17/2019 (2) days after plaintiff had been moved from Housing
    Unit-B to Trailer 2 Housing Unit, bed A-8-down -(or bottom)- Bunk bed (which
    had normal Forty inches head clearance. This was page (48) of the now missing
    diary log book which can be seen at center bottom. This page (48)          is
    memorialization of illegally locked exit fire doors, and illegal stolen -
    (pirated)- Direct cable tv programming by BSP officers by their use of hidden
    flat screen tv that was hidden in a dark blue (2) door wheeled wooden cabinet
    that had a pad lock hasp with pad lock that were used when certain officials
    made inspections.   This page (48) shows the reader the primer to use in
    establishing when plaintiff had moved from Housing Unit B, within the context
    of when plaintiff made each entry into that missing diary log book. It cannot
    be lost on the reader no A6-l = A6-16 document was created in cell F-128.

         (181) !6-9: This page from the missing diary log book has ( 4) lines
    missing from the top that have been copied cropped and re-copied . It is
    clearly page (19) and that is seen at bottom and at center of the page, it
    was drawn while plaintiff was housed in Housing Unit-Bin cell #143. Again
    it was made to memorialize the environment plaintiff was experiencing, and
    it is clearly marked B-Unit.

         (182) !6-10: This page from the missing diary log book is the copy
    of A6-8 as discussed in paragraph (180) of this complaint, that defendant
    Pepper used to bolster the fabricated charges and false narrative fostered
    by the intentional deceit and fabricated reports by defendant Pepper
    12/17/2019.

          (183) !6-11: This page from the missing diary log book upon careful
     inspection we see that at bottom center is the page number, (page 3), which
     means that it was composed on or about 10/4/2019 in Housing Unit-B. However,
     the reader wants to look carefully at the bottom of this copy of plaintiff 's
     diary log book to see that the many pages are visible and the pen with string
     can be seen and on the right side about (5) inches from bottom of the page
     we see there is a piece of page sticking out and then look to the very top
     and if the reader inverts the page there then becomes visible a preceding
     page that has been folded back which would be page (2) and it reads "and
     will hav e Levi help".    That would be plaintiff's a ttorney Levi Huebner':-
     The point of this forensic examination being imparted to you the reader is
     that this A6-ll document shows that this was the diary log book before
     defendant Pepper ripped out the other pages for copying and before he stole
     and or destroyed that diary log book. Again the reader should remember that
     this was composed in B-Housing Unit which continues to expose defendant
     Pepper's false narrative he wrote 12/17/2019 where he claimed that these
     documents were composed in F-Housing Unit for the purposes of planning an
     escape from Housing Unit-F.

          (184) !6-12: This page from the missing diary log book is the same
     copy of A6-10 located at paragraph (182) supra. It is more of the same
     bolstering to create the false narrative by defendant Pepper.

          (185) !6-13: This page from the missing diary log book had the top
     page intentionally ripped off and is dated 11/2/2019 and is marked page (41)
     at center bottom and was written when plaintiff was in Trailer 2 complex
     Housing Unit.    Plaintiff made notation concerning kosher peanut butter
     memoriali zing the inquiry #BSP19025802 filed 10/25/2019 and memorializing
     Officer Peter J. Nolan advising Trailer 2 prisoners that Administrator Gramp


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    was making rounds inspecting the Unit and plaintiff memorialized the illegal
    behavior of officer hiding the illegal flat screen tv hidden inside the blue
    wooden cabinet and cancellation of recreation due to a power outage which
    was told to prisoners on the loud speaker , which told the inmates there was
    a code 22 being called -(code 22 requires prisoners to stand for a count
    with ID in hand) . This document was used by defendant pepper in his reports
    of 12/17/2019, where he pretended that plaintiff, by implication was planning
    an escape because he had written about the stand up count that occurred
    in Trailer 2 by writing in his preliminary incident report and misbehavior
    report: "when stand up counts were called". Every NJDOC employee and prisoner
    knows that there is no secret to stand up counts because they are spoken
    of over t he loud speakers at every facility giving everyone notice that
    inmates must produce an ID and be standing for a count. The rarity of stand
    up counts has no security value that can be exploited . Plaintiff merely
    memorialized that one, the only one called while he was at BSP.

          (186 ) A6-14: This page from the missing diary log book dated at the
     top 10/ 7/2019 with the time 6;00 A.M. memorializes that plaintiff still had
     no pillow -(pillows are required to be provided)- also memorialized illegal
     asbestos pipe chase stickers warning of X-119 insulation, and next plaintiff
     memorialized that he was creating a record of each time he was allowed out
     of his cell, the bottom has been intentionally ripped off . Plaintiff knows
     the torn bottom is intentional because that diary log book was bound on top,
     for the bottom to be torn cannot have been accidental in fact plaintiff
     digresses here since t he diary log book was destroyed, ripped and all such
     tears and removed pages where defendant Pepper tampered with that diary log
     book a violates many criminal statutes in New Jersey - (plaintiff will
     provide a recitation in this complaint below of these crimes). It is illegal
     to force inmates to eat their food within 4-8 minutes of being provided the
     food, the minimum is ( 15) minutes which was part of the reason the times
     out of cell, for obtaining food, were being limited; everything plaintiff
     wrote in his now missing -(stolen)- diary log book concerned memorializing
     his conditions of confinement .

           (187) A6-15: This page from the missing diary log book is a copy of
     A6-2 addressed in paragraph (174) supra . Again we see defendant Pepper
     bolstering the fabricated documentary alleged evidence , why would an honest
     person try to trick reviewing officials who have no time or will to examine
     each page of the alleged evidence by salting the documentary record with
     i ntentiona l misrepresentation of the objective true record and why destroy
     and alter documents as he was seen on the preserved security film from
     12/17/ 2019 in possession of before he altered and destroyed them?

          (188) A6-16: this document is a copy of A6-5 l ocat ed in paragraph (177)
     supra, which plaintiff already provided the court and jury a digest thereof .
     Again we find defendant Pepper trying to foo l everyone by his fraudulent
     use of bolstered documents why would       he do that? and why       has    he
     destroyed documents, altered documents and intentionally copied the same
     documents that only conflates the alleged hearing record?
          (189) At this point plaintiff should mention that all pages of the
     diary l og book that defendant Pepper stole and altered was composed of
     standard commissary lined yellow (50) Page tablets sold under item 80033
     and each page has light blue lines and each page has (38) lines. So when
     plaintiff provides this information about missing lines it is to show the
     standard .

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         (190) Plaintiff has taken time and given a great deal of thought to
    presenting this court and jury finite factual details concerning these
    aforementioned (16) pages of alleged evidence that defendants Ng and Pepper
    presented with their charging documents , and plaintiff has provided these
    details because they would have been the same presented to the hearing
    officer, defendant DiBenedetto at a hearing. Unfortunately this plaintiff
    was not allowed to examine those documents A6-1 - A6-16 prior to defendant
    DiBenedetto rendering her alleged 1/3/2020 decision; and once discovery is
    conducted this court and jury will come to learn that plaintiff was not
    allowed the opportunity - (actually a well settled right that was denied
    without justification) -      to attend an actual hearing, and to comment on
    evidence being considered against plaintiff, and to call witnesses that wer e
    not a threat to the good an orderly hearing process or duplicative, and
    the right to present documentary evidence, and the right to call as a witness
    SID Investigators to present direct testimony of their review of F Housing
    Unit security recordings that captured defendant Pepper in possession of
    a complete (100 page) diary log book, where defendant Pepper at confrontation,
    of One of the only (3) questions allowed plaintiff, told the hearing officer
    (defendant DiBenedetto) that he never had any (100) page diary log book but
    located some loose pages inside plaintiff's cell. The security film from
    12/17/2019 at 7:55 P.M. through to about 8:18 P.M. shows him in possession
    of that (100) page diary log book from Two s eparate camera positions that
    cover the officer des k area.

         (191 ) On 1/17/2020 plaintiff was ordered out of his cell in disciplinary
    confinement (cell 2-B-Right) where he was provided (5) boxes of legal
    documents and some books. Plaintiff immediately told the officer that there
    all personal property possessed inside his cell F-128 at BSP on 12/ 17/2019
    was missing and after hours of searching through 30,000 pages of various
    civil and criminal law work a further discovery was apparent and that was
    that all plaintiff' s records, floppy disks , files about BSP had been
    surgically removed except for (1) floppy disk plaintiff had hidden in a Lexis
    Nexis instruction manual, that floppy disk was a secret back up plaintiff
    had used to back up some of the letters he sent complaining a bout NSP and
    BSP that was missed. Plaintiff learned that at BSP only officers are allowed
    to possess an inmate I s property that is being packed when that inmate is
    locked up and shipped out and plaintiff was informed in writing that defendant
    Ng was the officer recorded on F-Housing Unit security film removing property
    from cell F-128 and bringing it up to officer area for processing to the
    property room and it was defendant Ng that stole the bulk of all of
    plaintiff's personal and intellectual property amounting to a loss of about
    $1,395.00. That figure also included replacement parts for plaintiff's Brother
    EM-630 Word Processor that had parts ripped off and stolen in an attempt
    to obstruct plaintiff from access to use i t .

          (192)   On March 1, 2020 plaintiff wrote a (4 page) letter to Lee
     C.Seglem, Executive Director, State of New Jersey Commission of Investigation.
     The Commission of Investigation (hereinafter NJCI) is an independent agency.
     NJCI has a statu.tory mandate under NJSA 52:9.K-8 (a) whenever they receive
     ~ complaint of crimes committed~ public officers that~ employed~ t~e
     ~ of New Jersey, ~ ~reliminary investigation must b~ conduc~ed and. 1£
     it appears that such of icer or officers may have committed cri_mes wh 7le
     involving their state employment, the commission is required t o prov~de_ n?tice
     to the Attorney General. The letter plaintif_f sent listed (7) individual
     crimes and (1) violation of regulitory law as discussed below.



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           (193) The se are t he cri minal statutes and re-gulitory l aw that plaintiff
     addressed in his March , 2020 letter to Mr . Segl.€!51 at: NJCI : 2C : 20-8 (b) theft
     of services , 2C:20-8 ( e ,) , theft of cable services , 2C:20-25 (a) theft of
     computer storage medium, 2C:28- 6 tampering with ~ fabricating physical
     evidence, 2C:28-7 (a) (1) (2) and ( 3)       tampe ring   with    public     records,
     2C: 30-2 (a) off icial misconduct, and 2C : 30--7 Crime of pattern of official
     misconduct and N.J.A.C. lOA:2-3.2 (d) s t ealing services paid for ~ inmate
     welfar e f und . Each of these statutes above listed were alleged by plaintiff
     to be violated by Senior Correction Police Officers and Ser geants at BSP
     and he provided s uf ficien t background information and asked that Mr . Seglem
     provide plaintiff wi th a n E-mail address so that ex- wife Elsie Sanchez could
     E-mail his office the same E- mail that was sent to the above defendants as
     discussed in paragraph (160) s upra , which would have provided him the complete
     facts of the crimes pla intiff was alleging· that were committed against him
      in BSP , but Mr. Seglem never wrote a r e ply. So plaintiff re- sent that March
     1 , 2020 letter (3) more times and never a response . So pl aintiff had his
      friends Mr . Lynch and Mr . Huebner contact NJ CI to find out why Mr . Seglem
      did not respond and they were informed that Mr . Seglem was replaced by Mr.
      Chadd W. Lackey as the new Executive Director of NJCI . Thereafter, Mr . Lackey
      was mailed a Fed Ex package s ince he ref usedto provide an E- mail address.
     That Fed Ex package c ontained a print out of t he (2) page E-mail with the
      (14) attachments described i n pa r agraph (160) supr a ; the package addressed
      to Mr. Lackey was responded to by him on 7/29/2020.

           (194) When Mr. Lackey s e nt plaintiff his l etter dated 7/29/2020 he
     stated that he r eceived the March 2020 l e tter with no discussion of the
     evi dence he was s ent via Fed Ex , t hat was tracked by Mr . Lynch and determined
     t o have been r e ceived by Mr . Lackey. In sum he s t a t ed in his letter that
     he determined that " your complaint " is outs ide the jurisdiction of the
     Commission . Plaintiff as soon as he r ead that Knew Mr . Lackey , who is
     a n attorney , was being dis ingenuous ; Jurisdiction is NJSA 52: 9M 8( a ) .

             (195) Pl aintiff then wrote Mr . Chadd w_ Lackey a letter (5 pages)
      dated 8/20/2020 , and provided compelling legal reasons why his office is
      required to conduct a preliminary investigati on, requiring him to contact
      the New Jer sey Office of the Attorney General . Plaintiff mailed that letter
      and then Mr . Lackey refused to reply to i.t.        & . Lackey was required to
      investigate , and if not for the fact that _p:c;utiff is a prisoner such
      investigation would have been done and ar the Attorney General would have
      conducted an investigation based on the cert if~:eations plaintiff provided
     'and the overwhelming evidence provided by plaintiff, yet nothing but silence.
      This is deliberat e i ndifference to plaintiff ' s constitutional rights being
      viol ated by New J ersey public officers . Therefore Mr . Lackey has been added
      to this complaint as a defendant as a direct response t o his intentional
      refusal to aid in preventing conti.nued illegal ret.aliation against plaintiff
      a nd the t heft of First Amendment in~ellectnal {IC!J4IB!tJ by such public officers
      who tampered with evidence as part of a conspiracy ; a ll of whi ch was very
      we l l laid out by plai ntiff ' s certifications that explained the crimes
      commi tted by public officers, that provide d defendant Lackey direct notice .

           (196) NJDOC has a uthorized d-e-fendant Falve~ to provide O.P.R . A. records
      to plaintiff that cert ain of these defendants have deci ded to steal from
      plaintiff , without t he established policies and have c reated their own illegal
      policies and practices .




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    secreted a (22) page O.P.R.A. record #17734 -(which comprised NJSP employee
    list)- authorized by defendant Falvey. Plaintiff had watched that officer
    leave his cell and both the security camera and pla intiff s aw that officer
    Kovacs had nothing in his hands. When plaintiff returned to his cell he
    immediately realized that the aforementioned O.P.R.A. #17734, was gone.
    Therefore, plaintiff yelled out of his cell for officer Kovacs to immediately
    come back and expiain the theft. Officer Kovacs is recorded on the security
    film coming back, and plaintiff asked him to return the stolen records; and
    he replied "your not allowed to have those records" and plaintiff stated
    "I have the authorization from NJDOC records custodian Falvey right here"
    and Kovacs demanded plaintiff let him read it.      Kovacs upon being handed
    the authorization #17734 read it then turned and walked away. Later he came
    back to plaintiff's cell and handed over a confiscation receipt       -(form
    #171-1 that had (6) sections with a box in each section to check the reasons
    for confiscation)- and none of the boxes were checked, that could be argued
    as the officer's purported reasoning for that confiscation; nor a reason
    for putting it into his pocket. Plaintiff asked him who authorized him so
    confiscate the O.P.R.A. records and his answer was " the area Sergeant, the
    Lieutenant and Major Sears).

         (198) NJDOC employees are required by the procedures in place   that
    are required by N.J.A.C. lOA:18 sub chapter 2.15 (b) and 2.17 (a) 1-5, I,
    II, and III (Disapproved Correspondence), when they confiscate documents.

         (199) Plaintiff immediately wrote letters, and filed on the electronic
    ki9sk inquiries and grievances complaining to the following defendants that
    his O.P.R.A. record #17734 had been stolen; but all post confiscation Due
    Process of law had been withheld from plaintiff and each of them pretended
    the that the other was reviewing those documents, and continued to deny
    plaintiff all access to them or any Due Process after plaintiff appealed
    these violations of plaintiff's procedural and subs tanti ve Due Process of
    law rights. These documents O.P.R.A. record# 17734 was never returned.

         (200) the defendants who had direct knowledge of the illegal withholding
    of all Due Process from 4/10/2020 through this date in constructing this
    complaint 4/24/2021, over a full year, -(that plaintiff has fully documented
    and possesses each grievance and inquiry and letter copy, for presentation
    to the court and jury as evidence against each of them)- their names are
    as follows: Kemble, Sears, Gadecki, Emrich, and Richards.

          ( 201) Prisoners do not have a Federal Constitutional Right to claim
     damages for the failure of prison administrators to properly investigate
     wrong or illegal actions done by New Jersey State employees. However,
     Plaintiff will produce evidence at trial for the judge and jury, that will
     demonstrate that the withholding of an investigation and or withholding of
     evidence by corrections staff and SID investigators, where such evidence
     clearly supports by clear and convincing or preponderance of evidence, that
     suggests that the failure to investigate was for the purpose of a pattern
     and practice and or secret policy and or conspiracy to hide, obstruct, destroy
     or taint evidence, that was designed to or resulted in First Amendment Rights
     to petition for redress of illegal and or constitutionally violative
     conditions of confinement within a prison, then to that extent, with the
     proper qualifiers,   plaintiff intends to prove as part of his complaint,




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     that failure in this case, to investigate may, rise to an actionable claim
     for the purposes of this complaint, under the very specific facts in support
    ·o f proof that the Constitutional Rights of plaintiff that were shown to
     be extant and by their deliberate indifferance were successfully extended
     and consequently, plaintiff's damages were proportional to that failure to
     investigate, and it is plaintiff's intention in the next paragraph to provide
     a digest of NJOOC IMP's and    other instructive materials to establish facts
     that will show this court and jury inves tigative tools available to SID
     investigators so that we can have a yardstick or primer upon which to measure
     what should ha¥e been done and was not done of the required regulations and
     procedures and policies for investigations of mistreatment and conditions
     of confinement that are clearly illegal and violative of plaintiff's
     constitutionally protected rights.

          (202) Plaintiff has some facts raised in this complaint t hat may well
    be viewed as minor, standing by them selves, however, these defendants by
    their own pattern and practice have taken all complaints resolution and
    refused t o comply with any of t heir own rules and regulations even after
    this plaintiff utilized the Inmate Remedy System and written addendums to
    those complaints filed on the electronic kiosk system provided for Inmate
    Remedy System Inquiry and Grievance filings.      Plaintiff has filed proper
    and timely complaints on the kiosk as inquiries and grievances and no problem
    resolution ever occurs; each of the below listed kiosk complaint numbers
    are identified by number, date and issue complained about so that this court
    a nd jury has facts that show how plaintiff had utilized the system and facts
    that show how certain of these defendants intentionally did nothing to resolve
    any problem and only responded to plaintiff to pretend involvement in prisoner
    problem resolution, while resolving nothing and assisting each other as a
    conspiracy to obstruct plaintiff from protecting his First and Fourteenth
    Amendment rights under the United States Constitution. And so as to avoid
    this court from formulating a belief that plaintiff makes statements that
    are not truly verifiable facts he offers the following facts to show all
    the documented times plaintiff implored defendants to not violate his rights.

          (203) Plaintiff asks that this court and jury turn back to paragraph
     (88) supra for those complaints filed specific to BSP.

           (204)   Further kiosk complaints are as follows: inquiry NJSP20001678
     dated 1/15/2020 concerning receiving the alleged 1/3/2020 decision and being
     left on PHO 11 extra days, inquiry #NJSP20001813 dated 1/ 16/2020 concerning
     having no access to legal Lexis Nexis research, grievance #NJSP20001975 dated
     1/17/2020 concerning BSP theft of property, grievance #NJSP20002150 dated
     1/19/2020 concerning BSP set up and destruction of word processor and stealing
     and r eadi ng plaintiff's mail, inquiry #NJSP20002492 dated 1/22/2020 concerning
     theft of property at BSP, inquiry #NJSP20002608 dated 1/23/2020 concerning
     needing word processor altered by BSP, grievance #NJSP20002754 dated
     1/24/2020 concerning (4) extra points illegally assessed plaintiff, grievance
     INJSP20002757 dated 1/24/2020 concerning theft of O.P.R.A. records plaintiff
     wanted defendant Gramp to return and it clearly has defendant Richards
     obstruction of resolution, inquiry #NJSP20022937 dated 1/26/2020 concerning
     being intentionally left on PHO confinement (10) extra days by def endant
     OiBenedetto not forwarding her paper work to NJSP, inquiry #NJSP20003287
     dated 1/29/2020 concerning plaintiff acknowledging being provided his word
     processor and BSP intentional removal and theft of parts f rom it, grievance
     #NJSP20003291 dated 1/29/2020 concerning ignored and un-processed paper


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    grievance complaints -(and a note here : plaintiff discusses these paper
    inquiry and grievance complaints that have been intentionally obstructed
    in both SWSP and NJSP , below in this complaint)- that were not responded
    to, i nqui ry #NJSP200035420 dated 1/31/2020 concerning property claim
    [ #20-0111 ] , with 100 receipts not being picked up, grievance #NJSP20003669
    dated 2/ 1/2020 concerning access to Lexis Nexis research while being detained
    in the administrative segregation unit pursuant to defendant DiBenedetto' s
    alleged 1/3/2020 decision, where plaintiff was sentenced to 180 days
    punishment and 60 days loss of good time , inquiry #NJSP20003672 dated 2/1/2020
    concerning counselor Michelle Renaud and defendant Matthews filing plaintiff ' s
    BSP claim #20-0111 with supporting documents for property theft that occurred
    12/17/2019, inquiry #NJSP20003858 dated 2/3/2020          initially filed by
    plaintiff on 1/3/2020 concerning no investigation conducted after plaintiff
    pointed out theft of a different log book (14) pages stolen at SWSP 1/3/2020
    by an Officer named Smith, inquiry #NJSP20003976 dated 2/4/2020 originally
    filed by plaintiff on 1/11/2020 concerning continual PHO confinement, this
    is a perfect example defendant McDuffie pretends to answer prisoner complaints
    while obfuscating and obstruction of actual investigation into plaintiff
    being illegally confined to PHO confinement without any lawful reason,
    grievance #NJSP200005394 dated 2/14/2020 concerning paper inquiries filed
    since being confined in NJSP that had never been addressed concerning being
    denied shaving, law library access, clean clothing exchange since 12/17/2019,
    kosher food , pillow, no PHD oversight , illegal PHD confinement, no s hower
    shoes, no emergency commissary , grievance #NJSP20005828 dated 2/17/2020
    concerning still being denied kosher food diet, grievance #NJSP20006549 dated
    2/22/2020 concerning plaintiff being punished and retaliated because he wrote
    concerning conditions of his confinement at BSP, which defendant Richards
    is seen to be personally on notice of by his written words, grievance
    #NJSP20006551 dated 2/22/2020 concerning plaintiff alleging First, 5th, 6th ,
    8th, and 14th Amendment rights and pendant New Jersey statutory crimes against
    computers and data storage theft violations and that plaintiff was putting
    NJDOC on notice by reminding that Elsie Sanchez had sent on 1/29/2020 that
    E-mail with ( 14) attachments which both defendants Richards and Emrich are
    noted writing to plaintiff, grievance #JNSP20006887 dated 2/24/2020 concerning
    rapists and child predators who are not even Jewish receive kosher diet food
    but plaintiff still is being refused kosher diet, grievance #NJSP20007660
    dated 2/28/2020 concerning being on being in the administrative segregation
    unit for over (10) weeks which defendant Emrich said plaintiff would be
    reviewed for a level change in March, by the SASRC meeting, grievance
     #NJSP20007951 dated371/2020 concerning (6) extra points instead of the (2)
     extra points appropriate, this was directed to defendant Fairweather who
     used her cut- out Cindy Ford to run interference for her r ather than s howi ng
     she had direct notice and we see an example of the cover-up concerning
     defendant Maines at classification committee on 12/4/2019, where he assigned
     (4) extra points in retaliation to plaintiff writing to defendant Falvey
     for O. P. R.A. records #17144 and writing defendant Gardner the letter to SID
     on 12/3/2019, grievance NJSP20009818 dated 3/13/2020 concerning plaintiff
     still being denied kosher diet food, for at t hat point, (93) days, grievance
     #NJSP20009877 da ted 3/14/2020 concerning still being denied kosher diet food
     and finally it shows on 3/18/2020 that defendant Emrich writes plaintiff
     stating him being approved for kosher diet which plaintiff acknowledged
     receiving since only 3/20/2020 and where he asks why he had been denied kosher
     diet food for over (3) months and defendant Emrich avoids the answer to that
     question, grievance #NJSP20010438 dated 3/18/2020 concerning plaintiff
     complaining that the normal (60) day S.A.S . R.C . review had not been done


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     and defendants Richards and Emrich both write they are aware of plaintiff
     not being allowed that review until 4/16/2020, grievance #NJSP20010782 dated
     3/20/2020 concerning defendant acknowledging that plaintiff would not be
     scheduled for SASRC review until mid April, inquiry #NJSP20013680 dated
     4/10/2020 concerning a paper grievance       plaintiff filed 1/14/2020 and we
     see that defendant answers it on 4/21/2020 (98) days later -(when the time
     to respond to a grievance is 30 days)- a nd lies to plaintiff by obfuscation
     in the tell~ng that "responses will be sent in accordance with the designated
     time frames this is exactly the obstruction plaintiff has become to expect
     from defendant Emrich where she knows the times for processing inquiries
     and grievances and knows at the time she writes to plaintiff -(4/10/2020)-
     that s he was aware that defendant McDuffie had not followed the procedure,
     this is the type of pattern and practice that plaintiff has been alleging
     is the intent of defendants; they pretend form over any substance , inquiry
     #NJSP20013685 dated 4/10/2020 concerning the Lexis Nexis access still not
     being up-dated since 8/2019 and defendant Richards -(who at the time he wrote
     to plaintiff, knew that NJSP ha d entered into a fraudulent contract with
     oceans computer company, who had not been up-dating the Lexis Nexis satellite
     computers since 2019 and did nothing to get them up-dated)- was intentionally
     lying to plaintiff where he writes "Please utilize the G-27 para legal
     process until we can get a vendor in to update the kiosks", this is a lie,
     though someone looking in from the outside of prison would not notice anything
     amiss; but defendant Richards knows his suggestion to plaintiff to utilize
     the G- 27 process would not provide plaintiff any access to legal research
     of case law that is the only thing that kiosk is used for, and the para legals
     are only allowed access about once every (10) days and therefore there cannot
     be meaningful resort to them to accomplish access to t he legal research tool
     Lexis Nexis kiosk, so this is a perfect example how these defendants operate
     by writing something that appears responsive to the prisoner's complaint,
     while actually doing nothing but continue their pattern and practice of using
     the Inmate Remedy System as a tool to pretend problem resolution that only
     looks good on paper, grievance #NJSP20013910 dated 4/10/2020 concerning
     O.P.R.A. record 17734 illegally confiscated on 4/10/2020 that plaintiff
     sought the help of defendant Sears and he refused to respond to, grievance
     #NJSP20013912       dated  4/12/2020  concerning  continuation  of   grievance
     #NJSP20013912 because plaintiff ran out of space to write, as the system
     allows space for only 999 letters per complaint, anyway, defendant Sears
     did not respond to this grievance either, inquiry #NJSP20013986 dated
     4/13/2020 concerning plaintiff writing to the Administrator concerning the
     s t ol en O.P.R .A . records authorized under #17734 by defendant Falvey on
     3/3/2020 , and defendant Sears wrote an answer "SID has your items. According
     to reports. you were using these documents in an unauthorized manner", this
     court and jury will see at trial that defendant Sears had told a complete
     lie as no reports from the confiscating officer nor any employee wrote t hat
     plaintiff had used those documents in an unauthorized manner; the fact is
     that this is further proof that these defendants are engaged in a pattern
     and practice to utilize the Inmate Remedy System as a smoke screen, while
     they are using it to obfuscate and obstruct due process of law concerning
      the confiscation of constitutionally protected First Amendment access to
      possession of reading materials authorized for possession by NJDOC via
     defendant Falvey and to refuse to provide any post confiscation Due Process
     of law that is required by Statutory codified regulations. This is a pattern
      and practice and a conspiracy to deprive plaintiff all post confiscation
      due process, grievance #NJSP20018016 dated 5/9/2020 concerning plaintiff
      writing to Central Office which is defendant Fairweather' s area a nd she


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    answers plaintiff's complaint concerning being stonewalled and lied to
    concerning the O.P .R.A. records stolen on 12/17/2019 at BSP by defendants
    Ng and Pepper, by stating "property matters are not addressed via the j pay
    kiosk" here we see defendant Fairweather pretending plaintiff is addressing
    property per se when it is clear that he is addressing the failure to
    investigate employee theft of constitutionally protected records, grievance
    NJSP20019043 dated 5/16/2020 concerning officer Kovacs stealing commissary
    form from plaintiff's mail slot on 5/2/2020, that was recorded on security
    camera outside plaintiff's cell, that caused plaintiff to loose scheduled
    commissary defendant Richards refused to order plaintiff be allowed to receive
    commissary, grievance NJSP20020311 dated 5/24/2020 and grievance continuation
    NJSP20020313 dated 5/24/2020 and grievance NJSP20020435 dated 5/25/20920
    concerning notice being provided to all defendants of the E-mails sent by
    Elsie Sanchez to all defendants concerning illegal theft of personal and
    intellectual property at BSP on 12/17/2019, and the attempt at misdirection
    by defendant Fairweather, grievance #NJSP20023921 dated 6/12/2020 concerning
    again attempting to have an investigation by defendant Burke concerning the
    12/17/2019 fabricated charges and destruction of evidence and other criminal
    activity by defendants Ng and Pepper, this was directed to defendant Burke
    because she is an attorney and in charge of regulatory and legal affairs
    for NJDOC, and defendant Fairweather's cut-out Ms. Cindy Ford writes "this
    matter will be referred to Office of Legal & Regulatory Affairs for review",
    and we see that this again is appearing like normal communication except
    for the fact that no one ever responds to the actual complaint, all that
    actually being done time and time again is in perpetuity a circular pretense
    of addressing complaints designed to never actually resolve anything and
    in the process the obstruction of and deliberate indifference to correction
    staff being investigated and or stopped from continuing to violate and to
    make any effort to provide any supervisory control over corrections employees
    that were violating plaintiff's clearly defined constitutional rights to
    possess authorized intellectual property and be free from fabricated
    disciplinary charges by the intentional destruction of foundational evidence,
    grievance #NJSP20024880 dated 6/25/2020 concerns defendant Burke obtaining
     (10) yellow lined pages retained by SID from plaintiff's missing diary log
    book that came to be known to exist based upon (2) 171-1 and 171-11 contraband
     receipt forms that BSP SID put inside the box on 6/19/2020, this is important
     because it is the first time plaintiff was provided any information as to
     the disposition of his diary log book stolen 12/17/2019 and it is evidence
     denied plaintiff prior to the hearing officer's (defendant DiBenedetto's
     decision alleged to have been rendered 1/3/2020) and again Ms. Ford runs
     interference for defendant Burke by again writing "This will be referred
     to the Office of Legal & Regulatory Affairs" which again is circular
     circumnavigation specious obstruction       and deliberate indifference to
     protecting plaintiff's rights not to be retaliated against for lawful writing
     down and collecting and memorialization of facts to support civil rights
     redress in court and writing books on the illegal prison experience, grievance
     #NJSP200255190 dated 6/29/2020 concerning complaint made to defendant Richards
     about being left (10) extra days illegally kept on PHD total restrictive
     confinement from 1/4/2020 - 1/15/2020 and we see this defendant pretending
     openly that plaintiff is speaking to Level 1 Ad Seg status when the complaint
     was clearly addressing the illegal retention on restrictive PHD confinement
     for (10) days, inquiry #NJSP200261SS dated 7/2/2020 concerning plaintiff
     appealing the illegal confiscation of O.P.R.A. authorized records that
     defendant Falvey authorized and which were records returned by . SID 6/19/2020,
     these records were illegally ordered confiscated by defendant Emrich with



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    with no post confiscation due process, this complaint also put defendant
    Emrich on notice plaintiff was objecting to the confiscation and would follow
    up with a formal l etter , whic h he did, that will be provided below as
    additional facts of these ma tters concerning continual pattern and practice
    of these defendants t o confiscate a nd or steal aut horized O.P.R.A. r ecords
    without following the post confiscation due process a lready described in
    t his complaint supra, inquiry #NJSP20026395 dated 7/4/2020 concerning
    plaintiff 's formal appeal to the ill egal confiscation of O.P . R. A records
    ordered by defendant Emrich on 7/3/2020, where she refuses to provide the
    required post confiscation Due Process , with this c l ear abuse of her position ,
    her written statement "you received a copy of the confiscation fona listing
    the I.MPs that were not returned to you" as if this s tatement is some how
    t he legal s t andard for post confiscation due process , i t speaks of her and
    these defendants utter disregard for the rule of l aw, gr ievance #NJSP20026695
    dated 7/6/2020 concerning plaintiff addressing defenda nt Kemble a bout the
    fraudulent confiscation of O. P . R. A. records 17734 a nd defendant Emr ich
    reiterates her diatribe concerning being provided a r eceipt for the theft
    of the O.P .R.A. records, then defendant Richards writes that "NJSP
    Administration is consulti ng with Mr. Falvey on this matter" at the present
    date of plaintiff typing this portion of this complaint in is 4/27/2021 more
    than 8 months after defe ndant Richards response (made 8/4/2020) and over
    (1) year after the illegal confiscation of this O.P. R. A. record #17734 was
    done by officer Kovacs and still t he record has never been returne d nor any
    post confiscation due process, and grievance #NJSP20026853 dated 7/7/2020
    concerning plaintiff writing to defenda nt Hicks a bout pattern and practice
    by NJDOC employees confiscating plaintiff's duly authorized possession of
    0 . P .R.A. records a nd defenda nt Fairweather a nd her c ut-out proxy Ms . Ford
    promising that plaintiff will receive a written r esponse to his 6/19/2020
    (9 page l etter ), a nd of course no r esponse was ever provided.

           (205) This is a list of only SID complaints made on electronic kiosk
    compr1s1ng inquiries and grievances that show the facts that unde rpin this
    42 USC 1983 civil Rights Complaint : grievance #BSP19030622 dated 12/16/2019
    concerning the reason plaintiff was set up for fabricated charges 12/17/2019,
    and the fi r st O.P.R.A. theft on 12/3/2019 by defenda nts Lawson, a nd Miglio
    of O. P . R.A . record #17144, this is very compelling evidence that wi ll be
    de veloped in discovery and at trial tha t will be crushing e vidence against
    certain of these defendants, grie va nce NJSP20001811 dated 1/16/2020 concerning
    the BSP fa bricated charges and corruption, here we see defendant Kemble doing
    nothing to protect plaintiff 's rights not to be set up for filing complaints
    to SID , a nd have mail stolen by defendants, nothing was done , grievance
    #NJSP20001977 dated 1/ 17/20 20 concerning preserving the security film for
    BSP F-1 28 cell after 8 : 20 P.M. to preserve evidence of the theft of almost
    all of plaintiff's personal property, also requested that a n investigation
    be conduc ted and again defendant Kemble did nothing, grievances #NJSP20002049
    and NJSP200029051 dated 1/ 18/2020 concerning missing (100 page) diary log
     book stolen by defendants Ng and Pepper, and violations of 2C:28-6 for
     tampering with evidence a nd 2C:28- 7 (b),(1),(2) & (3) f or destroying e v~de~ce
    a nd again defenda nt Kemble did nothing , except t hat he demurred to pla1nt1ff
     t hat "thi s is not a forum to make accusations of deli berate indifference" ,
     grievance #NJSP20002154 dated 1/19/2020 concerning descr iption of certain
    items tha t would be seen on the BSP securi ty film of F-128 on 12/17/2019
     and no r esponse from defenda nt Kemble ,        grievance #NJSP20002255 and
     NJSP20002261 dated 1/20/ 2020 concerning plaintiff asking that a search be
     done in BSP Housing Unit F for paper back books belonging to plaintiff



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    specifically his DSM-5 diagnostic manual of mental disorders, which all had
    his name written on each book in magic marker and missing floppy disks, and
    again defendant Kemble did nothing, grievance #NJSP20002388 dated 1/21/2020
    concerning the 12/ 16/2019 complaint plaintiff had written on the kiosk SID
    #BSP19030622, and also requested that SID schedule plaintiff for a polygraph
    examination, and defendant Achinko reviewed that grievance and then decided
    not to respond to plaintiff nor to do anything, which is significant here
    since this Co\lrt and jury will recall at paragraphs (129 & 130) of this
    complaint, that plaintiff had met with defendants Gardner and Achinko, where
    extensive audio visual recording was done by those defendants to record the
    entire meeting, where plaintiff explained the entire illegal conduct, known
    to him at that time, that formed the basis of plaintiff being set up with
    fabricated c;.harges, to include the commitment by them that to locate t he
    (3 page) hand written letter plaintiff sent to defendant Gardner on
    12/4/2019), and they would find t he missing diary log book and review all
    the security recordings done by defendant Alexander and the security recording
    from BSP F Housing Unit and consider plaintiff's request for SID to provide
    that polygraph examination, instead, he did nothing, grievance #NJSP20002390
    dated 1/21/2020 concerning a request asto when a polygraph could be scheduled
    and defendant Kemble responded with "your request vas received", then
    plaintiff wrote -(appealing that non-response)- a disparaging remark and
    defendant Kemble stated ... "I informed you that your grievances were forwarded
    for review", and nothing again was done by this defendant other than taking
    issue with plaintiff's apt description made about his response -(mealymouthed
    bull s    t)- (which is what plaintiff had written to him in that appeal),
    inquiry NJSP20002938 da ted 1/26/2020 concerning the statement defendant Pepper
    made to defendant DiBenedetto at the confrontation portion of the alleged
    hearing, when both he and defendant DiBenedetto did not           realize that
    plaintiff and his paralegal assistant David Ribble was still within earshot,
    -( note: plaintiff is loath to use the word hearing out of context because
    the confrontation portion, which lasted less than Ten minutes was the only
    time plaintiff was actually at a hearing room, but after this confrontation
    portion was done plaintiff was never brought back to actually have t he
    hearing)- that he had "turned over to Bayside SID allot of paper work not
    at the hearing", and plaintiff addressed this grievance to defendant Grade
    and the issue of paper work not ,itemized in this matter, etc., and again
    no response from defendant Kemble, grievance #NJSP20004772 dated 2/10/2020
    addressed t o defendant Kemble concerning SID playing games investigating
    stolen mail addressed to defendant Grade and Corrections Ombudsman , Defendant
    DiBenedetti, and he refused to answer so plaintiff appealed on 2/17/2020
    demanding to know the name of person investigating all the complaints
    plaintiff made about BSP defendants Ng and Pepper who fabricated those charges
    to separate     plaintiff from his legal documents?       and defendant Kemble
    answered "the only information NJSP/SID will provide you with, is that your
    complaints are be~ng looked into. Other than that I am not bound to disclose
    any information to you. Your grievances are being forwarded to the
    investigator handling your case", so we see that this is the first time any
    SID employee has stated that there was an investigator handling plaintiff's
    case, inquiry #NJSP20004775 dated 2/10/2020 concerning plaintiff's question
    as to who exactly defendant Kemble was and he responded "David Kemble badge
    #269 NJSP/SID.", inquiry #NJSP20007658 dated 2/28/2020 concerning plaintiff
    writing to defendant Kemble and asking the name of the alleged SID
     investigator working on his case and defendant Gadecki responded "your case
     is actively being investigated. and should the assigned staff need further
     information from you, another interview will be conducted", at the date of



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    this paragraph 4/29/2021 , (14 months) has elapsed and no actual investigation
    has been conducted, plaintiff knows this to be true because the film from
    12/17/2019 clearly shows defendant pepper in possession of the (100 page)
    diary log book, that he then destroyed or otherwise hid from the pending
    official hearing that he was a confrontation witness at and stated there
    was no diary log book, a t that point he had violated at least (4) indictable
    offenses, which would mean that he would not presently be employed at Mid
    State Correctional Facility with the r ank of Lieutenant, he would have been
    arrested at the very least, and would not still be working as a correctional
    employee, i t is simple deductive logic based upon the objective facts this
    case presents; so we have only lip service at this point ( 14 ) months after
    the security film recorded these crimes and no investigation, only a series
    of disinfo rmations to obstruct and obfuscate plaintiff from relief from
    illegal retaliation and plaintiff establishing the known and available
    evidence of violations of his civil rights guarenteed under the First and
    Fourteenth     Amendments   to    the   United    States Constitution,   grievance
    #NJSP20008678 dated 3/5/2020 concerning plaintiff advising that defendant
    Pepper should be in handcuffs and also what about the illegal piracy of cable
    tv being done by officers a nd t hat defendant Easley handed by plaintiff on
    1/ 10/ 2020 many certified affidavits with dates concerning the fabricated
    charges and illegal activity at BSP          - (that he was handed to make copies
    he said that he did upon handing them back a few days later ) -, that was the
    reason plaintiff was being punished in Ad Seg and again defendant Kemble
    did not respond, other than to say "This inforaation will be forwarded for
    review", inquiry #NJSP20013988 dated 4/13/2020 concerning the illegal
    confiscation by officer Kovacs of O. P.R.A . record #17734 kovacs of the (22
    page) O.P.R.A. record #17734 taken on 4/10/2020, defendant Kemble refused
    to respond, other than "received", gr ievance #NJSP200142029 dated 4/14/2020
    concerning follow up to inquiry #NJSP20013988, plaintiff complains that there
    is a cover-up to the confiscation of the O.P.R.A. records #17734 and defendant
    Kemble writes his response on 4/14/2020 "the matter is being looked into"
    then on 5/ 11 /2020 defendant Gadecki looks at the grievance but does nothing,
    today as plaintiff writes these words at this point in this complaint the
    date is 4/29/2021 over One year has passed and still this O.P. R.A. record
    #17734, authorized for plaintiff possession by defendant Falvey on 3/3/2020,
    has still not been returned, grievance #NJSP20017069 dated 5/ 2/2020 concerning
    defendant Sears telling plaintiff in person that the O.P.R.A. records #17734
    was given to SID, when no answer was received by defendant Gadecki other
    than "noted", he filed a n appeal and was answered by defendant Gadecki on
    5/5/2020 where he wrote specious mealy-mouthed lies that this jury and court
    will come to understand upon examining this response, how egregious and
    intentional this defenda nt, as well others in SID are also involved in a
     pattern, policy and practice of obstruction and obfuscation designed to
     prevent plaintiff from post confiscation due process a nd what is most
    disgusting is that NJDOC SID is the investigation division that when presented
    with crimes and regulatory violations that deprive prisoners of rights a nd
     privledges in an unauthorized and illegal manner, it devolves to their duty
     to hold corrections employees accountable; SID is the police to the employees
    who violate plaintiff's clearly established rights and refusing to do that
     duty and continue t o lie and obstruct can be seen here to be part of a
     conspirac y to prevent plaintiff from obtaining due process, inquiry
     #NJSP20017912 dated 5/8/2020 concerning plaintiff writing that SID is involved
     i n a systematic pattern to undermine plaintiff's rights to possess lawfully
     authorized O. P . R.A. records and plai ntiff also implicated defendant Davis
     in     t hat  conspiracy,    and    defendant    Kemble wrote "noted" , grievance



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    #NJSP20018447 dated 5/12/2020 is a grievance and an appeal of the inquiry
    #NJSP20017912 and it again repeats the allegations made in that inquiry,
    also plaintiff asked again what was the name of the SID investigator currently
    investigating the theft of O.P.R.A. records and Defendant Kemble answered
    with "SID investigations are confidential", plaintiff asked for the name
    of the investigator not the investigation per se, grievance #NJSP20023291
    and #NJSP20023292 dated 6/14/2020 concerning defendant Sears falsification
    of official records by falsely stating in inquiry #NJSP20013986 dated
    4/28/2020 that plaintiff had used the O.P .R.A. records in an unauthorized
    manner, - (#1 7734]- this lie is easy for this court and jury to see because
    there was no such report ever written or contemplated as there would be a
    record of it in plaintiff's classification folder which was just provided
    in August of 2020 by the New Jersey Attorney General's Office, this was
    reviewed by defendant Gadecki who wrote "noted" and by defendants Emrich
    and Richards who did nothing, inquiry #NJSP20025344 and #NJSP20025351 dated
    6/28/2020 concerning plaintiff informing defendant Achinko that he had
    finished constructing the (9 page) 6/19/2020 - 6/25/2020 dissertation on
    the 1600 plus pages of O.P.R.A. records returned to plaintiff that had been
    sent from SID in BSP to NJSP and delivered to plaintiff's cell on 6/19/2020,
    and mos t important was the notation - (2 confiscation #1771-I and #177-II
    forms that SID wrote a note to plaintiff, on the bottom of them, which were
    copies of those same forms that were dated 12/17 /2019)- telling him that
    (10) yellow pages were retained and plaintiff asked when he would receive
    them back so he could provide a copy to attorney Michael Poreda, so he could
    provide the Superior Court Appellate Di vision a copy for use in a motion
    for supplementation of the record in plaintiff's ongoing appellate challenge
    to the decision of defendant DiBenedetto's guilty decision allegedly rendered
    1/3/2020 , no response was provided, inquiry NJSP20026162 dated 7/2/2020
    concerning plaintiff asking defendant Kemble to return his O.P.R.A. record
    #17734 (22 pages) and he replied "I am not in receipt of your paperwork,"
    and finally in this SID series: grievance #NJSP20034350 dated 8/23/2020
    concerning appealing the non-response to inquiry #NJSP20026995 dated 7/6/2020
    -(which continued plaintiff's attempts at redress)- of illegal confiscation
    and retention with no post confiscation due process of O.P.R.A. record
    #17734, and defendant Gadecki wrote more of nothing concerning defendant
    Sears falsifying official records in inquiry #NJSP20013986 on 4/28/2020,
    and defendant Gadecki answered on 6/22/2020 with "noted. thank you", plaintiff
    appealed and stated he wanted the O.P .R .A. documents returned and both
    defendants Emrich and Richards logged in but refused to respond. In s um
     this extensive record of actual written facts digested in paragraph (105)
    and this instant paragraph (106), of this complaint, finds plaintiff, this
     court and the jury with a factual basis to weigh defendants -(associated
     therewith)- involvement in a pattern and practice to obfuscate and obstruct
     plaintiff from all post confiscation of (3) different sets of O.P.R.A. records
     that were confiscated on Three separate dates and then refused to provide
     post confiscation due process required at the very least by the codified
     regulations envisioned by the promulgation of N.J.A.C. lOA :18 inter alia.
     aforementioned.

          (206) Plaintiff asks that this court and jury accept his apologies
    for having to spend time reading through pages (35) through this page (42)
    that are comprised of so many recitations of the Inmate Remedy System
    inquiries and grievances plaintiff filed on the electronic kiosk; this was
    very necessary, because as a prisoner plaintiff is extremely limited in any
    meaningful process to establish facts concerning the day to day life in prison
    t hat now reaches this court and this jury as vital facts and proofs and
    evidence .
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        (207) Plaintiff has been a paralegal since 1987 and when he was convicted
    of burglaries and theft crimes in 2015 he knew from legal research that there
    had been established through an Act of Congress in 1996 fairly consistent
    federal case law, concerning prisoner treatment and the civil rights of
    prisoners and plaintiff realized that he needed to fully inform himself in
    the current case law and the various directives that control his prison rights
    and responsibilities.

         (208)   Plaintiff started collecting case law concerning his criminal
    case and civil rights within the NJDOC and New Jersey District Court and
    the controlling 3rd Circuit Court of Appeals.      Also plaintiff started to
    acquire through the Freedom Of Information Law that is known in New Jersey
    as Open Public Records Act (OPRA), a large and diverse amount of records.

          (209) Plaintiff, under O.P .R .A., that is slightly modified for records
    access to prisoners, started collecting those O. P.R. A. records authorized
    for possession, by making direct written application, using an "O.P.R.A.
    Request Form" to the attorney at Central Office of the NJDOC, -( who's
    extensive knowledge of every Directive (also called IMP) and other records
    that are created and or possessed within NJDOC)- is the defendant John
    Falvey, who to date has received over (210) O.P.R.A. requests from plaintiff
    starting on or about February of 2017. This fact needs to be established
    as plaintiff moves on to address the nuts and bolts of what other f acts led
    up to the primary axis upon which this case exploded into retaliatory crimes
    against plaintiff from 12/3/2019 - 1/3/2020 and beyond.

         (210) To coin the phrase primary axis again here, plaintiff moves to
    BSP property room.     The primary axis for plaintiff's damage by these
    defendants has it's foundation in plaintiff's possession of authorized
    O.P.R.A. records which were fairly extensive at the time he was transferred
    to BSP, a nd within the property room, was conducted and an extensive search
    of plaintiffs inordinately voluminous property        -(13 large boxes)- and
    -(4 large plastic containers)- that was "substantially an amount more than
    the amount of permissible property allowed" as digested by property room
    Sergeant James Probst on 10/10/2019 via the electronic kiosk inquiry
    #BSP19024539, which took at least (4) days to search. And it was at this
    time that BSP became aware of the extensive amount of legal books, property,
    and legal records t o include the Thousands of pages of O. P.R. A. records
    consisting of rules, policies, IMP' s, employee names, titles and sal ari es ,
    employee contracts for employment, medical, commissary, pest control and
    cable tv vendors. Officers were all talking about the NJDOC records possessed
    by plaintiff and defendant Devol and other officers asked if plaintiff was
    working for SID or was he an attorney. Plaintiff always told them he was
    a paralegal nothing more complex or odious than that.

          (211) Plaintiff received his property on or about 10/15/2019 but non
     of the electronic property such as word processor or tv or fan, until
     plaintiff was transferred out of the trailer 2 Complex which was open bunk
     bed housing divided (16) prisoners per trailers A - F.

          (212) So it is clear that officers were very concerned a bout the type
     and breadth of NJDOC records possessed by plaintiff even though there were
     most of them a ttached to the authorizing paperwork and where not actually
     attached there was Two large clear (13) pocket accordion file folders
     containing all records of every NJDOC document possessed by plaintiff, kept
     in full view next to all the NJDOC records. And as plaintiff always does


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    all of his O.P.R.A. NJDOC records were stapled in approximately 50-70 page
    compilations that were stapled on the left side with 5-8 brief staples, thus
    making these compilations easy to read like a booklet and also virtually
    indestructible to the most rigorous security cell and property searches within
    a prison plaintiff makes this observation here because it is the same brief
    stapling that was done with the (100 page) diary log book that defendant
    Pepper is observed for about (15) minutes on the security film located in
    F-Housing Unit of BSP on 12/17/2019 reading and at times clearly recorded
    as becoming angry and attempting to tear it apart as he read something
    plaintiff had written concerning fellow employees breaking the law.

         (213) At this point plaintiff reminds the court and jury to pay c lose
    attention to defendant Pepper's face and hands and body language as he stands
    there a t the officer desk area on the F-Housing Unit on 12/17/2019 flipping
    over and over page by page the (100 page) diary log book a nd the violent
    anger that can be seen from him as he continued to read, this is the book
    he pretended on confrontation at SWSP on 1/2/2020, that he never possessed.and
    was only some loose pages.

         (214) On 12/17/2019 both plaintiff a nd defendants were subject to
    pre-existing IMP regulations that controlled the SID, and to understand the
    duty and power to address and prevent crime and constitutional violations
    within the closed world of prison life for inmates and officers under the
    control of NJDOC SID, we find the IMP #ADK.006.()()() titled Special
    Investigations Division Mission, Goals and Objectives and Organizational
    Structure. This IMP is allowed for possession by plaintiff and it states
    clearly at page (2) that "It is the mission of the Special Investigations
    Division to insure that investigations a r e conducted into possible violations
    of the l aw and NJ Criminal Code (Title 2C), as well New Jersey Administrative
    Code (Title lOA) •.• NJ DOC policies and procedures by NJ DOC inmates and staff,
    as well as individuals outside the Department who violate or for whom there
    is a reasonable suspicion of having violated the law relative to the NJ DOC".

         ( 215) When plaintiff was removed from BSP on 12/17/2019 and placed on
    PHD confinement in SWSP for the very serious charges that included alleged
    planning of an escape (charge 102) and the interview by SID the following
    Morning 12/18/2019, a series of procedures of the SID were required to be
    conducted . And additionally, any i nmate complaints of abuse by staff or
    allegations of conditions of confinement that were illegal are required to
    be addressed by the SID.

          (216)   The   procedures   for   SID   are     identified   in   these   IMP' s:
     IMP#ADK.006.SID.007 entitled Storage, Handling and control of Contraband
     Evidence, IMP#ADM.006.SID.034 entitled Electronic Surveilance, IMP#ADK.006.035
     Investigative Procedures, IMP#ADK.006.036 entitled Recorded Statements, and
     IMPADM.006.037 entitled Videotaping of Incidents and/or Movement of an I nmate .
     The importance of these listed IMP 's" cannot be overstated here because they
     are the core of evidence collection and preservation that was done or not
     done in t his case and this court and jury cannot learn the truth from what
     plaintiff claims or what defendants claim, · as to any matter touching upon
     an SID investigator, that will effect review of any relevant material fact
     in this complaint, that may be inferred by such investigator and evidence
     under the review and control of such investigator.

          (217) Plaintiff was at all times from 2014 through present determined
     by Federal Social Security Administration to be disabled.


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          (218) Plaintiff must follow all posted rules and regulations that NJDOC
     requires him to abide by and he must do so without question. If plaintiff
     disagrees with a written rule or regulation he may file a challenge or
     complaint by filing an inquiry or grievance in paper form or on the electronic
     kiosk, Plaintiff has at all times relevant in this complaint become aware
     of all rules and regulations and knows that on 12/17/2019 he was not in
     violation of any rule or regulation of NJDOC. The following are the facts
     that establish why plaintiff knows each regulation and rule he must abide
     by unconditionally: The construction of regulations and rules that plaintiff
     is responsible to abide by unconditionally is controlled by IMP #ADM.012.000
     entitled Administrative Rules Unit Mission, Goals and Objectives; this IMP
     sets forth the requirement for initial Administrative Rule construction
     that turns into a policy , practice and procedure that will become an IMP.
     IMP#ADK.001.DOC.001 entitled Development of NJDOC Policies and internal
     Management Procedures is the next step in rules and regulations that plaintiff
     is required to abide by unconditionally and it starts with the operational
     unit called Administrative Policy a nd Procedure Manual Unit (APPK). Then
     IMP#ADM.001 .IMP .001 entitled NJ DOC Level ..!_ internal Management Procedures
     Emergency Promulgation along with IKPJADM.001.DOC.001 entitled Development
     of NJDOC Policies and Internal Management Procedures sets forth a very concise
     and easy to read and understand construction of all rules and regulations,
     policies and procedures that control inmate and employee alike within the
     control of NJDOC, and IMP#ADM.001.DIR.001 entitled NJ DOC Directives :
     Distribution Procedures, this IMP provides distribution procedures for staff
     to receive various IMP' s and written policies and procedures. Plaintiff
     believes that the above cited IMP ' s are necessary for this court and jury
     to have access to in order to have a factual basis for rules and regulations
     plaintiff is required to abide by and the processes that form the basis for
     rule and regulation construction that is necessary for resolving factual
     issues of rules and regulations that did and did not exist on 12/17/2019.

          (219) Plaintiff had also read the NJDOC "Handbook of Information and
     Rules for Employees" dated January 1995. This employee rule book plaintiff
     had already but wanted to determine if it was still current as of the date
     12/17/2019 so on 1/22/2020 defendant Falvey authorized plaintiff to possess
     it via O.P .R.A. record request #17552 .     At page (7) of that rule book
     paragraph (R) "Employees will show a scrupulous regard for the personal
     property of inmates . When it is necessary to confiscate unauthorized personal
     property of whatever value, it will be turned over to superior authority
     for suitable disposition". On 12/17/2019 defendants Ng and Pepper during
     and after filing fabricated disciplinary charges against plaintiff used that
     activity to conceal the careful extraction of all written or ~
     intellectual personal property that had been created and collected to record
     crimes being committed by NJDOC employees at BSP that were observed by
     plaintiff and ill egal conditions of confinement that directly harmed
     plaintiff; and to accomplish the theft of that intellectual property they
     caused the theft of over $1,300 in personal property that plaintiff believes
     was a smoke screen that they did so that other items of property were stolen
     beyond the actual true purpose of the reason for the fabricated charges,
     they needed to create a false reason to read the legal and personal writings
     of plaintiff in this fabrication of charges it allowed the time to search
     for those writings and computer floppy disks, to be stolen.
          (220) Plaintiff filed a claim for the loss of personal property on
     1/30/2020 claim #20-0111, that certain defendants refuse to investigate or
     process as of today 5/5/2021.


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           (221)   Plaintiff wants to stat e facts here that are consist~t WJ~o
     his inten t ions in filing this complaint as i t s eeks to s tate facts ccnceroing
     the property that defendants Ng and Pepper s tole on 12/17/2019. The fact
     is that the law will not allow this court or jury to hear pl aintiff about
     the loss of personal property if New Jersey has a court that will . Plaintiff
     is providing facts of the theft of intellectua l property, comprising personal
     memorialization of daily life in BSP a nd other prisons and book drafts
     and l egal work, in the form of the loss of written, typed and s tored in flo~py
     disks, that defendants Ng and Pepper stole to prevent plaintiff f rom evidence
     in fil i ng civil rights complaints and t o punish plaintiff for filirrg
     complaints and collecting evidence in anticipation of            filing complaints
     against BSP and their friends and then SID defendants have covered up this
     illegal theft and retaliation and in the process of the cover-up they allowed
     the · intentional destruction of evidence to taint the disciplinary hearing
     process that prevented plaintiff from due process befo r e and during and after
     the decision a llegedly rendered by defendant DiBenedetto on 1/3/2020 .

          (222)     Plaintiff must go back to previous paragraphs (193         196)
     concerning Commission of Inve stigations Executive Direct or defendant Lacky ,
     plaintiff at the time of drafting those paragraphs was being prevented from
     access to use Lexis Nexis in the prison law library (since December 2020)
     and he needs to address the facts that underpin defendant Lackey's deliberate
     indifference .    Under the statutory requirements of his office are the
     following mandatory action on his part that he decided to obfuscate , and
     they are listed as follows :     N.J.S.A. Title 52:9M-2 The Commission shall
     have the duty and power to conduct investigations in connection with;W
     The faithful execution and effective laws of the state, (b) The conduct of
     public of f icers and public employees . And N.J.S.A. Title 52:9M-8 (a) Except
     as provided in s ubsection (c) of this section whenever the commission or
     any employee of the commission obtains any information or evidence of a
     reasonable possibility of criminal wrong doing , the commission shall
     immediately refer such information or evidence to the Attorney Generaf:""

            (223) Whe n plaintiff and his friend Mr. Lynch provided defendant Lack-ey
      overwhelmi ng evidence, well beyond mere possibility, that defendants Ng and
      Peppe r had stolen documents and floppy disks conta ini ng plaintiff' s evidence
      against BSP staff and that lette r s to state officials had been stolen from
      the mail and t hen formed the basis for retaliatory fabricated cmrrges and
     'destruction of documents that were prevented from r eaching c:m. ongoing of-fciri;;J
      hearing; all these are but a few of the criminal conduct t..'lat plaiatiff and
      Mr . Lynch supplied to defendant Lackey who was required hy law to at the
     ;Very least, t o provide the Attorney General a r eferral thereof, but: decided
      not to do anything except to f a l sely state to plaintiff L...J..Lat there was no
      juris diction for any action, by him or the commission .

            (224) Plaintiff must explain his facts as they will be used for part
      of this lawsuit . That i s to say, that there are clear ~..:........ court d.Pcis=ions
      that res trict certain claims that a prisoner -( plaintiff)- may bring t.o
       this court and before t his jury, even if plainti ff has incontrovertible
      evidence that a hearing officer rendered a decision that i s manifestly unjust,
       the controlling factual predicate , upon which plaintiff may file a claim
       against a disciplinary decision is limited t o those cases where a direct
     · appeal reverses or an executive order or a s t a te t ribunal or questioned by
       a federal writ of habeas corpus has been issued, and reverses such
       disciplinary decision in favor of plaintiff ; and therefore plaintiff must
       offer this court and j ur y very specific facts that will allow· him t o make


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     certain c laims in this complaint, because as of the date of the writing of
     this portion of this complaint -(5/ 7 /2021-) plaintiff has not received a
     decision from the New Jersey Superior Court Appellate Division.        But the
     law requires that this complaint be filed before (2 years) after the date
     12/ 17/2019 . The f acts to support that this complaint is properly before this
     court and jury ~erning the alleged hearing a nd 1/3/2020 decision of
     defendant DiBenedetto, are developed in the following paragraphs.

          (225) Recent New Jersey District Court decisions support the position
     that this court and jury can hear plaintiff complaining, - (as he has
     throughout the pre-hearing stage, the pos t-decision agency a ppeal and the
     Superior Court Appellate Division appeal)- that plaintiff has a right to
     constitutional protections that include the disciplinary hearing process
     that is free of perjury and deceit, and free from the spoliation of evidence
     that may have supported plaintiff's most significant point concerning the
     (100 page) diary log book taken as a whole document, that provided the true
     context of those pages intentionally ripped out of that diary log book that
     were copi ed, cropped and copied again to create a false narrati ve and
     obfuscate the true context that the un-altered diary l og book would have
     provided to the hearing officer, defendant DiBenedetto, the true narrative
     of plaintiff exercising his constitutional right to memorialize the daily
     prison l ife that directly effected his health , welfare and safety within
     the prison walls .

          (226)    Now plaintiff wants to move on to the decis ion of defe ndant
     alleged t o have been rendered by defendant DiBenedetto on 1/3/2020 .

          (227) Defendant DiBe nedetto wrote a One and One Third         page t yped
     decision with the date 1/ 3 /2020 on the bottom. This decision s he has marked
     at top right as "AAl".

           (228) We initially read, s tarting at line 2: ... "Nor will the inmate
     be allowe d to use these proceedings as a ·personal investigation into paperwork
     he claims to be missing". This shows her utter disregard for plaintiff's
     written certification tha t complained of spoliation of the (100 page ) diary
     log book last seen as a whole document on security film from Housing Unit-
     F in BSP on 12/ 17/2019, in the possession of defendant Pepper.

           (229)   Next we see at line 5: •.. "All other long-winded conspiracy
     theories, inordinate lengths of statements and inmate rambling in not relevant
     or being considered". This is extremely important to take notice of here
     as plaintiff now s hows this court and jury:       Plaintiff wrote certi fied
     affidavits to include Second polygraph request that were described supra
     in paragraph ( 160), they were/ are not conspiracy theories they are c learly
     plaintif f attempting to provide necessary facts to the hearing officer and
     a n attempt to provi de specific evidence a nd witnesses who plaintiff wanted
     to produce at a hearing of those charges filed against him 12/17/2019. The
     question that begs the answer is why did the hearing officer, defendant
     DiBenedetto, decide not to allow a ny of plaintiff's witnesses nor any
     documentary evidence or even t o consider same as part of he r fact f inding
     and deliberative process? Especially where she refused to allow plaintiff
     to review any of the documentary evidence (A6-1 - A6-16), whic h also preve nted
     plaintiff from pointing out that many documents we re falsely identified as
     being wri tten in BSP and about F-Housing Unit, where plaintiff could, pr esent
     evidence to r e but the false reports a nd t estimony   of defendants Ng and
     Pepper.


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          (230) Next -(at line 15)- defendant DiBenedetto writes "A reasonable
     person would believe an inmate who has created a list of dimensions of cells ,
     distance a nd steps to fences with measurements of fence height and length
     is obtaining the information for escape purposes. Inmate Gittens identified
     the l ocations of metal detectors, timing of custody movements and specific
     detail locations has been documented including specific officer's names,
     assignments and schedules", here defendant provides this court and jury
     evidence of her marshaling her view of the evidence that are documents -(A6-l
     - A6-16)- that she comments upon that were not only against the actual weight
     of that evidence but also has again shown how very important it was for her
     to have allowed plaintiff to review those (16 pages) so that he would have
     the opportunity to rebut her characterization of the evidence. so we have
     her refusing to allow plaintiff to attend the hearing, while having denied
     him access to review all documents that comprised the only alleged evidence.

          (231) Then we see -(at line 20) - defendant writes "Inmate Gittens is
     not assigned to be the keeper or investigator into government and state
     funding and has no clearance to scrutinize the abuse of over time by DOC
     employees. Further, despite inmate Gittens interest in the fire safety of
     the Bayside Trailers, he does not have the authority to inspect and examine
     the facility for compliance". Here ,we see that defendant DiBenedetto has
     given insight into here mistaken belief that plaintiff is not authorized
     to investigate illegal conditions of confinement where defendant Falvey who
     provides plaintiff with O.P.R.A. records to use in investigation of all areas
     that impact plaintiff's conditions of confinement. Plaintiff tells defendant
     Falvey each time he is investigating compliance with safety and funding
     matters and then defendant Falvey sends plaintiff those very documents.
     Plaintiff is in fact authorized to conduct investigations concerning illegal
     activity by NJDOC employees that are presented to plaintiff, there are no
     rules or regulations that prohibit plaintiff from these law full acts and
     that defendant DiBenedetto falsely writes otherwise, does not re-write those
     rules and regulations to make the l awful and authorized writings of plaintiff
     unlawful or unauthorized.

          (232) Next defendant -(at line 29)- writes "Despite being made aware
     of the self-inflicted harmful effects of his monotonous and repetitive
     rhetoric inmate Gittens continues to submit documents for his defense which
     only support his continual inappropriate behaviors.      Inmate Gittens shows
     no remorse for his self-fulfilling actions and refuses to cease his actions
     despite being advised that in the harsh reality of prison culture his actions
     must be viewed as dangerous and against policies" . Since plaintiff was never
     allowed to attend a hearing other than the portion that was totally limited
     to confrontation of defendants Ng and Pepper that was less than
     -(10 minutes),- where       in the hearing record is defendant DiBenedetto
     obtaining that plaintiff has ever done "inappropriate behaviors" because
     he submitted documents for his defense?       And when was plaintiff required
     to show "remorse"? And what "actions" is defendant speaking about "despite
     being advised •• . "? What rule violation or behavior is this defendant saying
     that plaintiff has done as "against policies"?        Is defendant DiBenedetto
     punishing plaintiff for writing certified affidavits in defense of fabricated
     charges? What has plaintiff done that was dangerous? And what does plaintiff
     being charged with stealing a safe have to do with robbery? Plaintiff has
     never robbed any person, but defendant DiBenedetto -(at lines 29-30) states
     that plaintiff has a history of " ••• robbing safes".




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         (233) At page '(2) defendant DiBenedetto states -(at line 1)- "DHO relies
    on all documents inmate Gittens possessed that would aid and assist him from
    escaping from the institution. Inmate Gittens admits to possession of said
    drawings, maps and security details". Plaintiff was never allowed to attend
    the hearing nor · examine any of the "documents" she speaks about so her
    statement knowing that she prohibited plaintiff from examination thereof
    is at best disingenuous, and against the weight of objective evidence.

         (234)   Next -(at page 2 line 3)- defendant DiBenedetto writes "His
    defense that information was [obtain] for alternate reasoning is not supported
    and is irrelevant. 11 Plaintiff has a right to establish his "intent" and
    to attend the hearing and examine and comment on the evidence which he was
    not allowed by defendant DiBenedetto to do.

         (235 ) Next -(at page 2 line 4)- defendant DiBenedetto writes "Inmate's
    intent is irrelevant if he possessed items that would aid in and consistent
    with planning an escape".    Since the documents that were alleged to form
    the evidence -(A6-1 - A6-16)- upon which defendant DiBenedetto relied upon
    for her alleged 1/3/2020 decision of guilt and punishment assigned plaintiff
    thereby, were not made in BSP or concerning BSP and there is no e vidence
    that was presented to defendant DiBenedetto that established intent to or
    of a plan to escape.      But there is clearly contained within defendant
    DiBenedetto' s writings that she believed that it is illegal for plaintiff
    to document BSP NJOOC employees illegal activities and illegal conditions
    of confinement and that with out evidence of intent she can extrapolate
    plaintiff's writing in his diary log book as evidence of planning an escape.
    Defendant DiBenedetto was required to allow plaintiff to comment on the actual
    -(16 pages)- A6-1 - A6-16 of alleged evidence and only after she had allowed
    plaintiff an opportunity to examine then offer a defense, if any could be
    appropriate, then make here decision, but to make her        alleged 1/3/2020
    decision without allowing plaintiff that examination denied his of his rights
    in a fundamental manner to his constitutional right to have a disciplinary
    hearing free from spoliation of evidence and that allows an examination of
    the evidence against him.

          (236) Lastly, defendant DiBenedetto -(at page 2 line 7)- writes "Inmate
     Gittens role is of an inmate, his role is not to police the police, nor
     investigate the Department of Corrections, inmate Gittens must comply with
     the written rules of his position as an inmate". Defendant DiBenedetto here
     again is pretending that plaintiff violated a written rule and goes even
     further -(at page 2 line 9)- where she writes "A reasonable person would
     believe the totality of drawings, sketches and information would be
     information to aid in an escape. "Again defendant DiBenedetto is pretending
     to rely on documents she refused as did defendant Falvey, plaintiff access
     to examine, and she has violated plaintiff's rights and protections guaranteed
     by New Jersey statutes, New Jersey Constitution, and Federal Constitutional
     Amendments by punishing plaintiff by defective due process at hearing,
     punishing plaintiff for his exercise of his rights to memorialize illegal
     conditions of confinement and illegally allowing the spoliation of the very
     documents that forms the basis of her alleged 1/3/2020 decision.

          (237 ) Defendant Falvey has provided, and plaintiff possesses, the
     training guide for Disciplinary Hearing Officers in conducting hearings.
     That document cites the two controlling cases that concern the required Due
     Process at a disciplinary hearing. Wolff ~ McDonnell, 428 U.S. 539 and
     Avant~ Clifford, 67 N.J. 496.


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              (238)   Plaintiff mentions the Hearing Officer's training guide book
         (15 pages), and the two controlling cases cited supra, so that this jury
         can know that there is a factual basis for plaintiff to rely upon that he
         can point the jury to as to protections that should have been provided to
         plaintiff by defendant DiBenedetto, and oversight by other named defendants
         -(who were directly aware, and      had actual knowledge of this case, as
         addressed   supra in this complaint)- that had/have long been established
         and that defendants training and knowledge of the procedures and policies
         that were designed to conduct fair and impartial hearings when there is
         a misbehavior report alleging that an inmate has violated a written rule.
         In this case plaintiff was targeted for a cell search that was used to create
         a distraction -(a smoke screen)- so that documents plaintiff possessed could
         be obtained and destroyed or hidden, in a conspiracy by the named defendants
         to obstruct plaintiff from his constitutionally protected rights to seek
         redress of illegal conditions of confinement. Plaintiff has a history in
         New Jersey since 2016 of total objective clarity in every complaint, every
         written letter, every document filed with any court and any complaint made
         ~ the electronic kiosk ~ an inqui ry or grievance, of honesty.       At trial
         when this court and jury sees the evidence and hears and sees defendants
         on the witness stand the truth will be known.

               (239) Before plaintiff forgets to describe the conduct of defendants
         Ross and Whilden, such is described as follows: On 10/30/2019 While plaintiff
         was waiting on line to use the phone in Trailer 2 Housing Unit, defendant
         Whilden was watching the illegal flat screen tv set -( that was hidden
         in a blue wooden cabinet that was connected to stolen Direct Tv Cable service
         that was pirated from inmate welfare fund paid for cable system)- and was
         openly smoking an electronic cigarette and was blowing out massive smoke
         plums that plaintiff observed and when defendant Whilden saw that plaintiff
         was observing her she entered into an agreement with defendant Ross to
         threaten plaintiff and attempt to stop him from memorializing the observation
         of the illegal activities.     Defendant Ross called plaintiff over to the
         officer desk area and then defendant Whilden came up a nd said "why are you
         looking at me" and plaintiff responded that she, defendant Whilden, knew
         plaintiff was watching her blow out huge plums of smoke and her watching
         illegal tv on illegal cable tv system paid for by the inmate welfare fund
         while the tv signal to the inmate tv ha d been intentionally disrupted, and
         defendant Ross threatened to have plaintiff set up -(and placed in
         Administrative Segregation)- unless he forgot what he saw and that plaintiff
         had better not write it down. And defendant Whilden chimed in that she could
         have plaintiff sent back to the main compound if plaintiff did not stop
         watching what officers were doing.       Plaintiff wrote about that incident
         in his diary log book and made a notation of that incident in the O.P.R.A.
         record #16358 next to defendant Ross' s name and defendant Whelden' s name
         -(but one of the officers who possessed this O.P.R.A. record #16358 at the
         officer desk area on 12/17/2019, r i pped out the notations next to defendant
         whelden' s name)-.   And these Two defendants were part of the reason that
          plaintiff had his mail to SID and Corrections Ombudsman stolen from the
         mail box on 12/4/2019 and on 12/16/2019 and 12/17/2019 . These defendants
         were part of a group of officers at BSP that were corrupt and had been
         involved with an ongoing practice and pattern of intimidation and threats
         for inmates who were targeted as complainers or litigators, and          upon
          information and belief, this group used the phones , inside the prison
         -(called land lines)- as well as direct face to face communication to
          determine which inmates to target. Also upon information and belief these



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          defendants had some person or persons in the mail room and control center
          involved in tracking prisoner mail and movement for evil purpose not security,
          as well as private internet platforms to target specific inmates to include
          plaintiff in these illegal retaliatory practices for their ultimate goal
          to suppress    complaints and punish and deter those i nmates -(to include
          plaintiff)- from complaining about illegal patterns and practices at BSP.

               ( 240) Plaintiff suffered the loss of his good time and was punished
          from 12/17/2019 until May 14,2020 with punitive confinement, loss of
          commissary privileges, phone and kiosk access, accesses to personal ( 100
          page) dia ry log book, legal letters and typewritten complaints, floppy disks
          containing Two book outlines as well as civil rights court files in Gittens
          V. Bonds and Gittens V. Scholtz, and the Muller report sent to plaintiff
          by his attorney Levi Huebner (438 pages), and O.P.R.A. record request files
          and O.P.R.A. records, and books on writing books (4), and personal property,
          and forced to be confined at BSP in cells that were causing great pain and
          discomfort by placement in bottom bunk beds designed for inmates less than
          Five feet and Three inches in height, and roach infestation and deprivation
          of light to read; and each of these defendants were directly informed of
          plaintiff's complaints and took no action, in fact defendant brown was only
          concerned with how plaintiff knew the height of the head clearance on the
          bottom bunk, additionally,     plaintiff was denied a polygraph examination
          when he offered proof of spoliation and fabricated c harges and these
          complaints were treated with deliberate indifference.

               (241)    Plaintiff also filed an inmate property claim on 1/31/2020
          numbered 20- 0111 -(for the theft of personal property by defendants NG and
          Pepper on 12/17/2019)- with well over 200 receipts and certified affidavits
          and proofs in support thereof, and all due process has been denied to him
          as of this date 5/10/2021, the claim remains unprocessed and no investigation
          has, upon information and belief, ever been conducted, because BSP defendants
          have refused to cooperate with the investigation per Sgt. Omar Mendoza.

                (242) Defendants from Central Office of NJDOC that were each officials
          with the power to investigate, and to · order an investigation and who were
          in supervisory positions that provided the ability to supervise and correct
          the claims plaintiff has made in this facts section of this complaint, have
          not taken any action to stop the constitutional violations concerning the
          time plaintiff was at BSP, SWSP and NJSP, and were deliberately indifferent
          t o these alleged violations after being repeatedly placed on actual and direct
          notice of them.

                (243) Plaintiff has filed many more documents with these defendants
          that will, at trial support his position that is the key overarching theme
          within the Four corners of this complaint, which is that defendants, all
          of them when provided clear corroborated written communications, -(many of
          which were certified affidavits signed by plaintiff)- decided that the rule
          of law, the United States Constitution protected rights of plaintiff, ( that
          were clearly established and understood as such by these defendants) - and
          t heir own mandatory regulations and policies, were not going to be afforded
          to plaintiff's benefit nor would anything that would require accountability
          for violations of the Rules, policies, regulations , statutes and New Jersey
          and United States Constitutions     as against fellow NJDOC employees     be
          allowed; and in fact with most, a n effort to actually obstruct due process
          of law protections and procedures and investigations of such violations were



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           covered up as part of their pattern and practice of spoliation and obstruction
           of proofs of violations of procedural due process and substantive due process.
           these are the facts of this complaint now made for this court and jury.

                ( 244) No complaints concerning any of the NJDOC employees named in
           this complaint as defendants resulted in any· findings of fault by such
           employees; Chief among those NJDOC employees mentioned in this paragraph
           that were best positioned to protect plaintiff's rights were the SID
           defendants within this complaint who allowed the continual breaking of rules,
           rights and statutes and constitutional protections, in favor of a pattern
           and practice of covering up and assisting in continued constitutional
           violations as a direct and proximate result of their intentional misfeasance
           and malfeasance.

                (245) Plaintiff now completes this facts section of this complaint
           by noting the current date of 5/11/2021, where no decision has ever been
           provided to plaintiff concerning property Claim #20-0111 overseen by defendant
           Nathan has ever been rendered, and no procedural due process accorded
           plaintiff, which is an additional pattern and practice to deprive plaintiff
           of all constitutional protections required in the processing of inmate claims
           for property    -(stolen by NJDOC employees on 12/17/2019 at BSP from
           plaintiff's cell F-128)- stolen as part of the conspiracy to fabricate
           charges and retaliate against plaintiff.




                (246) Plaintiff alleges and re-alleges and incorporates by reference
           paragraphs (1) through (245) as if fully stated as to the facts that fully
           support the foll·owing claims of United States Constitution and New Jersey
           Constitution and New Jersey statutes and       New Jersey regulatory laws
           violations:


                                              COUNT 1
                (247) United States Constitution Amendments: First Amendment, Fourth
           Amendment, Eight Amendment and Fourteenth Amendment have individually and
           at times collectively, as detailed in this complaint,    been violated by
           defendants and are briefly framed as follows:
                (A) Retaliatory transfer from NSP on 10/2/2019 by defendants Gangi
           and Nogan based upon written complaints by plaintiff that reported being
           assaulted by NJDOC employee on 9/21/2019.

                (B) Retaliatory deprivation of special personal property privileges
           -(earned and authorized at NSP)- through pattern and practice of transferring
           plaintiff to BSP knowing that the 10/2/2019 transfer to BSP by defendants
           Nogan and Gangi was known would subject plaintiff to unjustified taking of
           property privileges without any due process of law.

                (C) Retaliatory transfer from NSP to BSP on 10/2/2019 by defendant
           Gangi after plaintiff wrote a letter critical of his inappropriate behavior
           and the appearance of certain mental conditions, at a meeting he ordered


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          plaintiff to attend that had him exhibiting, behavior that appeared to be
          Borderline Personality Disorder with possible comorbidity with Narcissistic
          Personality Disorder.

               (D) Retaliatory transfer into BSP cell B-143 on 10/2/2019 that had no
          light and bottom bunk bed head clearance of (28 inches) that prevented
          plaintiff from sitting up in bed that he was forced to live on 23 ½ hours
          each day, which forced plaintiff to be at un-natural angles where his
          shoulders were caused great physical pain each time plaintiff made any move
          to sit, stand, eat, use phone, use kiosk and shower or any other activity
          connected to that bed, that was used as torture against plaintiff.

               (E) Retaliatory Transfer from BSP Trailer 2 Housing Unit to Housing
          Unit F-cell-128 on 12/4/2019, were plaintiff was again forced 23 ½ hours
          each day on a bed with (28 inches) head clearance with the same conditions
          listed in sub-paragraph "D" supra except there was a light in this cell but
          conditions were made worse by infestation by giant roaches.

               (F)   Retaliatory theft of O.P.R.A. #17144 on 12/3/2019 which was
          also stolen to obstruct plaintiff from possession of authorized research
          NJDOC records without any of the established due process of law.

               (G) Retaliatory transfer from Trailer 2 Housing Unit to Housing Unit
          F-cell-128 to punish for and deter plaintiff's memorialization of and
          complaining about illegal smoking of cigarettes and stealing inmate welfare
          funds Direct Tv cable tv vendor services and illegal possession and watching
          of smuggled flat screen tv in the officer area of Trailer 2 Housing Unit
          by defendants Whilden, Ross, Devol, Lawson and Rollar.

               (H) Retaliatory transfer from Trailer 2 Housing Unit to Housing Unit
          F-128 by defendants Lawson, Miglio, Rollar and Devol directly following the
          theft of O.P.R.A. record 17144 on 12/3/2019 and plaintiff's (3 page) complaint
          letter to defendant Gardner dated 12/3/2019 stolen from mail 12/4/2019.

               (I)   Retaliatory theft by defendants Pepper and Ng of plaintiff's
          personal property as described in inmate property claim# 20-01110, without
          any due process of law and plaintiff is being refused by Cumberland County
          Court and New Jersey Department of Treasury to obtain any r elief , so that
          there is no meaningful recourse for plaintiff in the appropriate state court
          as Cumberland County Judge -(Cumberland County is where plaintiff must file
          his Title 59 Tort Claims Act complaint)- James R. Swift refuses to allow
          plaintiff to file a complaint against the state of New Jersey nor is the
          Department of Treasury processing any filed papers provide by plaintiff.

               (J)   Defendants Pepper and Ng have stolen plaintiff's personal and
          intellectual property outside all legitimate NJDOC government purpose and
          without any confiscation nor post confiscation due process of law.

               (K) Defendants as s~orn officers of the law did on 12/17/2019 punish
          and or allow punishment of plaintiff in the fabrication of (3) disciplinary
          charges with spoliation of the document upon which the only alleged evidence
          came from after plaintiff had written complaints to SID concerning theft
          by defendants of authorized mail and then theft of complaint mail to SID,
          and then obstructed the due process of the disciplinary hearing by hiding
          and or destroying material documentary       evidence  to alter the hearing
          outcome against plaintiff and then refusing to allow plaintiff to call
          witnesses or present documentary evidence in defense thereof.

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                   (L) Defendant Gramp by policy and practice did prevent plaintiff from
              providing evidence to defend against false disciplinary charges by defendants
              Ng and Pepper after plaintiff provided evidence that spoliation of and
              retaliatory charge were filed against him and needed a polygraph test and
              that in this particular case the denial of a polygraph examination was a
              denial of due process and deliberate indifference to meani.n gful due process
              disciplinary hearing.

                   (M)   Defendant Gramp denied plaintiff available NJDOC provision of
              providing an inmate a polygraph examination where issue of credibility of
              plaintiff would have established a total defense to the (3) fabricated
              12/17/2019 disciplinary charges and denial of the exercise of discretion
              was in the particular facts known to defendant Gramp at the time when he
              denied plaintiff ' s (9 page) polygraph examination request, tantamount to
              a denial of the measure of due process required of plaintiiff's disciplinary
              procedural due process and substantive due process.

                   (N) All defendants that were provided actual notice that plaintiff
              had made complaints to SID and that was the reason for his targeted cell
              search and issuance of (3) fabricated disciplinary charges on 12/17/2019
              had a duty to protect plaintiff from continued retaliation for plaintiff's
              filing of complaints but took no action to stop or prevent continuation of
              the retaliation and were deliberately indifferent to that retaliation after
              being directly informed of it.

                   (O)   Defendants allowed plaintiff to suffer clear manifestly unjust
              punishment without reviewing the SID evidence and the security evidence
              choosing to pretend to go through the procedures of disciplinary due process
              while in fact engaged in a pattern and practice that they used to shield
              NJDOC employees from exposure of retaliatory conspiracy against plaintiff
              on 12/17/2019.
                    (P) Defendants Sears, Lawson, Miglio, Gramp, Kemble, Gadecki and Emrich
              stole and or allowed to be stolen        O.P.R.A . records from plaintiff that
              were authorized for his possession and were paid for, without any due process
              that is required and or refused ~o protect plaintiff's right to possess said
              O. P.R. A. records where there was no threat to safety or security.

                   (Q) Defendant DiBenedetto did and defendants were deliberately
              indifferent to disciplinary hearing procedure that was the product of   tainted
              evidence through intentional actions of defendants Ng and Pepper that   created
              spoliation and where plaintiff was not allowed to actually attend the   hearing
              nor review the documentary evidence to prepare for the hearing nor      prepare
              the appeal of the alleged hearing decision of 1/3/2020.

                   (R)   Defendants obstructed investigation into the stolen SID and
              Ombudsman mail and the retaliation for plaintiff's being discovered
              complaining to Ombudsman and SID and did conspire with each other in a course
              of conduct that was a practice a nd policy to obstruct inmate investigations
              into NJDOC BSP staff retaliation and NJDOC illegal conduct and illegal
              conditions of confinement that they knew were violations of plaintiff ' s state
              and federal rights that the First Amendment protects plaintiff from being
              violated, and the defendants decided to obstruct investigation of this First
              Amendment and Fourteenth Amendment violations so that plaintiff was
              continually damaged as a direct result of that obstruction in violation of
              42 u.s.c. 1985.


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                     (S)   Defendants have carefully weighed the policies and procedures
                requiring them to uphold the rights and privileges of plaintiff and the
                evidence at trial will show they decided that plaintiff has no right to due
                process of law in First Amendment right to receive Kosher food even though
                it is a clearly established right and the denial without any lawful reason
                and without any due process of law also violates the Fourteenth Amendment.

                     (T)   The neglect of defendants to stop violations of Constitutional
                rights is a violation of 42 U.S.C. 1986.

                     (U) Defendants facilitation of plaintiff's placement into cells B-143
                and F-128 with bottom bunk head clearance height of (28) inches forcing
                plaintiff to live 23 ½ hours each day with an inmate on the top bunk in a
                cell designed for One inmate where plaintiff was required to spend his cell
                time confined to that bottom bunk caused plaintiff unnecessary wanton
                infliction of pain caused by that bottom bunk and were deliberately
                indifferent to that bottom bunk placement and were deliberately ind ifferent
                to the bed construction that was described by measurement that the bottom
                bunk head clearance height was (28) inches and knew that plaintiff was
                required to be placed on bottom bunk by medical restriction and where
                plaintiff gave defendants specific notice of his destroyed shoulders and
                the pain that bottom bunk cell assignment caused.

                     (V)  Defendants design of the bottom bunk head clearances in BSP main
                compound Housing Units A-F were deliberately designed as a torture chamber
                and they knew this was too low a head height where the same exact bed frame
                was manufactured for the bunk beds utilized in the Trailer 2 Housing Unit
                complex trailers A-F except that those beds were designed with a spacer welded
                that extended the bottom bunk head height clearance between 7-9 inches.
                That 7-9 inch spacer was used as a means of rewarding inmates and in the
                cells plaintiff was forced to occupy B-143 and F-128 those were used to punish
                and torture plaintiff. Which was an unnecessary infliction of pain upon
                plaintiff that they were deliberately indifferent to .

                     (W) On 12/17/2019 defendants Ng and Pepper at BSP seized from cell F- 128
                personal and intellectual property without authorization and did hide the
                seizure from fellow NJDOC employees and did so without a warrant and in
                violation of their oath as sworn New Jersey Correction Police Officers and
                made this seizure for illegal and evil purpose.

                     (X) Defendants Davis, Richards, Sears and Bonds authorized plaintiff's
                illegal punitive PHD confinement from 1/4/2020 - 1/14/2020 without lawful
                purpose and without due process of law and also in violation of plaintiff's
                rights to equal protection of the law.

                     (Y)  Defendant Falvey obstructed plaintiff from preparing an appeal
                defense to fabricated charges dated 12/17/2019 by withholding and altering
                official NJDOC documentary evidence to obstruct plaintiff from defending
                false disciplinary charges and did also obstruct O.P . R. A. records request
                documents to obstruct plaintiff from preparing documentary evidence in claim
                #20-0111.

                     (Z)  Each defendant in this complaint intended to violate plaintiff's
                rights to procedural due process and in individual and collective pat~erns
                and procedures that were intended and at times did obfuscate established
                policies  and  procedures  designed to protect and facilitate rights and


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      privileges, but withheld from plaintiff enforcement of his rights because
      they determined that the rule of law could be manipulated and obstructed
      and   they could hide it all since the SID investigators willingly assist
      them as in this case, by withholding investigation evidence in violation
      of 42 U.S.C . 1985 and 1986, and did a l so fail to protect plaintiff from s uch
      obstruction which caused plaintiff to be obstructed from protected access
      and posse ssion of reading materials and computer data and written complaints
      that were filed to address the illegal conditions of confinement identified
      in this complaint and of illegal treatment while under confinement within
      NSP, BSP and NJSP correctional facilities.

                                           COUNT 2
          ( 248) Claims for supplemental Jurisdiction should be permitt ed in this
      complaint as follows:

         (Supp. A)    New Jersey Civil Rights Act , N.J.S.A.       10:6-2 (New Jersey
     Constitution Article 1) for cruel and Unus ual Punishment .

           (Supp . B) New Jersey Torts Trespass t o Chattles , seizure of intellectual
      and personal property taken from plaintiff i n BSP and NJSP, a nd intentional
      infliction of emotional distress .

          (Supp . C)  Americans with Disabilities Act violations c onnected with
     the 28 i nch bunk bed head clearance a nd plaintiff's pre-existing medical
     conditions know to defendants at BSP but they were deliberately indifferent
     to the proximate extreme intractable physical pain caused in cells B-143
     and F-128 .

           (Supp . D) New Jersey Civil Rights Act New Jersey Constitution Article
      I retalia tion for petitioning Government for redress.

           (Supp . E)   New Jersey Law against Discrimination retaliation.

           (Supp . F)   New Jersey Law against Disability Discrimination.

           (Supp. G) RLUIPA 42 U. S.C. 2000 bb-2 (4) violation for denial of kosher
      diet to Jewish inmate (plaintiff),      -(Jewish by birth mother)- actively
      practicing Jewish faith and pre-approved for kosher diet but NJSP above
      mentioned employees refused for 93 days to provide same to pla intiff .

           (Supp. H)  Plaintiff reserves the right when, and if the matter of
      malicious prosecution claim becomes ripe to file c laim against defendants
      Ng and Pepper .

           (Supp . I)  Tort for theft of intellectual property specifically the
      over Three million typed letters stored in floppy disk computer data that
      contained two lawsuits , Two book outlines under construction concerning
      modular prison construction effects upon prisoners and New Jersey corrupt
      prison s ystem redress of illegal conditions of confinement, and letters of
      complaint a nd copies of criminal case sentencing and PCR doc uments and (4)
      books on writing books and Muller Report Volumes I & II (438 pages), and
      (2 clear file folders with hundreds of pages of O.P.R .A. records request
      documents) .




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           (Supp . J)  New Jersey Tort for theft of personal property from cell
     F- 128 in BSP 12/17/ 2019.

          (Supp. K) Civil RICO violations 18 U. S. C. 1964 (a) & (c) for pattern
     of theft of personal and also repeated thefts of intellectual property in
     the form of floppy disks documents, books, 0 . P . R. A. records that plain tiff
     and his family and friends paid for that defendants seized without corrections
     purpose that i nvolves many defendants who are each i n communication with
     each other and together ha ve decided that t hey can repeatedly seize
     intellec t ual property from plaintiff knowing they a re violating their own
     NJDOC rules and criminal statutes prohibiting theft, and they are involved
     in a civil and criminal conspiracy as an or ganized c rime group.




                                     REQUFSTED RELIEF


          Wherefore, Plaintiff Darius Heimer Gittens , Pr o Se, demands :

          Monetar y damages

           Puni tive damages in the amount of $75 ,000 against each defendant.

           Attor ney fees.

           fees and costs. Appointment of a special master .

           Injunctive relief.


                                       CERTIFICATION

             Dar i us Heimer Gittens, Pro Se, hereby certified pursuant to 18 U.S . C.
      1746 that he has read this (248 paragraph) (57) page complaint, and knows
      it ' s content t o be true and correct to his own knowledge .

      DATED: Ma y 18, 2021

                                   JORY      DEMAND

           Plaintiff hereby demands a trial by jury .




                                    arius eiinerl.ttens
                                  New Jersey State Pr ison




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